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                         EXHIBIT 1
9/26/23, 2:25 PM                                                                               eCaseView
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     CASE NUMBER: 50-2023-CA-011853-XXXX-MB
     CASE STYLE: DULCIE, CHRISTIAN V LABORATORY CORPORATION OF AMERICA




        Search Criteria         Search Results              Case Info      Party Names    Dockets & Documents           Case Fees   Court Events


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                       Docket          Effective             Description             Notes
                       Number          Date


                       2               07/07/2023            CIVIL COVER SHEET


                       3               07/07/2023            COMPLAINT               F/B PLT


                       1               07/10/2023            DIVISION                AO: Circuit Civil Central - AO (Civil)
                                                             ASSIGNMENT


                       4               07/10/2023            PAID $401.00 ON         $401.00 4963297 Fully Paid
                                                             RECEIPT 4963297


                       5               08/29/2023            SUMMONS ISSUED          jdulcie@searcylaw.com;_baker-barnesteam@searcylaw.com AS TO DFT
                                                                                     LABORATORY CORPORATION OF AMERICA

                       6               08/29/2023            SUMMONS ISSUED          jdulcie@searcylaw.com;_baker-barnesteam@searcylaw.com AS TO DFT
                                                                                     SEAN FARRIER MD

                       7               08/29/2023            SUMMONS ISSUED          jdulcie@searcylaw.com;_baker-barnesteam@searcylaw.com AS TO DFT
                                                                                     PATRICE FRASER


                       8               08/29/2023            SUMMONS ISSUED          jdulcie@searcylaw.com;_baker-barnesteam@searcylaw.com AS TO DFT
                                                                                     YOLANDA WALTON

                       9               08/30/2023            PAID $40.00 ON          $40.00 5025615 Fully Paid
                                                             RECEIPT 5025615




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   Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 3 of 95
                       10                     09/08/2023    DCM DESIGNATION    J NUTT DTD 9/8/23 THAT PURSUANT TO ADMINISTRATIVE ORDER 3.110
                                                            TO THE GENERAL     (AS AMENDED) THIS CASE IS DESIGNATED TO THE GENERAL TRACK. THE
                                                            TRACK WITH JURY    DEADLINES ESTABLISHED BY THIS ORDER ARE TO ENSURE THE CASE IS
                                                            TRIAL ORDER        DISPOSED OF W/IN 18 MONTHS. TO THAT END THE FOLLOWING
                                                                               PROCEDURES AND DEADLINES SHALL BE STRICTLY OBSERVED: **SEE
                                                                               ORDER FOR DETAILS**


                       11                     09/12/2023    COMPLAINT          AMENDED F/B PLT


                       12                     09/22/2023    SERVICE RETURNED   RETURN OF SERVICE SERVED SEAN FARRIER - 09/19/2023
                                                            (NUMBERED)
   517-54b4c854-769a-40bd-bf4c-763a25c6916a




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**** CASE NUMBER: 502023CA011853XXXXMB Div: AO ****
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   QXPEHURIEORRGWHVWVLQFOXGLQJDSHULSKHUDOIORZF\WRPHWU\0XOWLSOHWXEHVRIEORRGZHUHGUDZQ

   IURP&KULVWLDQDWWKH1RUWKODNH%OYGIDFLOLW\RI'()(1'$17/$%&253RQ'HFHPEHU
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   E\3$75,&()5$6(5
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                  2Q-DQXDU\'()(1'$17/$%&253ID[HGDFRS\RI&KULVWLDQ'XOFLH¶V
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   ODEUHVXOWVIURPWKH'HFHPEHUWHVWLQJWRDQDVVLVWDQWRIWKHRUGHULQJSK\VLFLDQEXWXVLQJ
        N




   DQLQFRUUHFWDGGUHVVIRUDGLIIHUHQWFDQFHUFHQWHU'()(1'$17/$%&253LQFOXGHGDQRWHDWWKH

   HQGRIWKRVHUHVXOWVLQGLFDWLQJWKH\KDGQRWSHUIRUPHGWKHIORZF\WRPHWU\EHFDXVH³/DE&RUSZDV

   XQDEOHWRREWDLQDVXLWDEOHVSHFLPHQ´
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   'XOFLHY/DEFRUSHWDO
   &RPSODLQW
   3DJH

                  &KULVWLDQ'XOFLHZDVVXEVHTXHQWO\LQVWUXFWHGE\SKRQHWRUHWXUQWR'()(1'$17

   /$%&253WRKDYHPRUHEORRGGUDZQIRUWKHIORZF\WRPHWU\WHVW

                  2Q )ULGD\ -DQXDU\   &KULVWLDQ 'XOFLH UHWXUQHG WR '()(1'$17

   /$%&253RQ1RUWKODNH%OYGLQ3DOP%HDFK*DUGHQV)ORULGDZKHUHKHSURYLGHGKLVQDPHDW

   WKHFKHFNLQFRXQWHU7KHIDFLOLW\ZDV




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                  2Q)ULGD\-DQXDU\ &KULVWLDQ'XOFLH ZDVPDGHWR ZDLWDFRQVLGHUDEOH




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   SHULRGRIWLPHZLWKPXOWLSOHRWKHUSDWLHQWVLQWKHZDLWLQJDUHDRI'()(1'$17/$%&253RQ

   1RUWKODNH%OYGLQ3DOP%HDFK*DUGHQV)ORULGDZKRZHUHDGYLVHGWKHIDFLOLW\ZDVVKRUWVWDIIHG




                                                         D
   ZLWKRQO\RQHVWDIIPHPEHUSUHVHQW3DWULFH)UDVHUZDVHPSOR\HGDVDSDWLHQWVHUYLFHWHFKQLFLDQ

                                                      IE
   UHVSRQVLEOHIRUWKHGUDZLQJRI0U'XOFLH¶VEORRGGDWDHQWU\DQGVSHFLPHQSURFHVVLQJ3DWULFH
   UHVSRQVLEOHIRUWKHGUDZLQJRI0U'XOFLH¶VEORRGGDWDHQWU\DQGVSHFLPHQ
                                                    IF
   )UDVHUWKHVXSHUYLVRURIWKH/$%&253VXSHUYLVRUZDVQRWSUHVHQWDWWKHIDFLOLW\QRUGLGVKHKDYH

   VXIILFLHQWSHUVRQQHOWRKDQGOHWKHYROXPHRIFXVWRPHUVDWWKDWIDFLOLW\DWWKDWWLPH
                                           RT


                  2Q)ULGD\-DQXDU\&KULVWLDQ'XOFLHZDVHYHQWXDOO\FDOOHGGLUHFWO\EDFN
                                  CE



   WRWKHYHQLSXQFWXUHURRPIURPWKHZDLWLQJDUHDRI'()(1'$17/$%&253RQ1RUWKODNH%OYG

   LQ 3DOP %HDFK *DUGHQV )ORULGD ZKHUH WKH VDPH ZRPDQ PRYLQJ DERXW WKH FKHFNLQ DUHD
                                A




   SKOHERWRPLVW3DWULFH)UDVHUWKHQGUHZKLVEORRG
               T




                  7KHUH ZDV QR H[FKDQJH RI SDSHUZRUN XSRQ DUULYDO RU XSRQ &KULVWLDQ 'XOFLH¶V
              O




   HQWHULQJDQGOHDYLQJWKHYHQLSXQFWXUHURRPDW'()(1'$17/$%&253RQ1RUWKODNH%OYGLQ
        N




   3DOP%HDFK*DUGHQV)ORULGDRQ-DQXDU\

                  ,QODWHDQGHDUO\WKH'()(1'$17/$%&253IDFLOLW\RQ1RUWKODNH

   %OYG LQ 3DOP%HDFK*DUGHQV )ORULGDZDV SHUVLVWHQWO\XQGHUVWDIIHGVRPHWLPHVZLWK RQO\ RQH

   ZRUNHURQGXW\DQGDUULYLQJSDWLHQWVIRUFHGWRZDLWORQJSHULRGV±DQXQVDIHVLWXDWLRQUHFRXQWHG
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   'XOFLHY/DEFRUSHWDO
   &RPSODLQW
   3DJH

   E\WKHPDQ\FRQFHUQHGSDWLHQWVZKRVXEPLWWHGFRQWHPSRUDQHRXVRQOLQHUHSRUWVRIWKHLUWURXEOLQJ

   H[SHULHQFHDWWKLV6RXWK)ORULGDODERUDWRU\IDFLOLW\

                  )XUWKHULQJ WKH XQVDIH DWPRVSKHUH DW WKH '()(1'$17 /$%&253 IDFLOLW\ RQ

   1RUWKODNH %OYG LQ 3DOP %HDFK *DUGHQV )ORULGD RQ -DQXDU\   ZDV 6LWH &RRUGLQDWRU

   <RODQGD:DOWRQDOORZHGRQO\DVLQJOHSKOHERWRPLVWWRKDQGOHWKHFKHFNLQDQGGRFXPHQWVKHUVHOI




                                                                           PY
   IRUWKHPDQ\SDWLHQWVDUULYLQJLQDGGLWLRQWRGUDZLQJWKHEORRGDQGKDQGOLQJWKHFKDLQRIFXVWRG\




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   GLVSRVLWLRQRIWKRVHEORRGWXEHV

                  7KHXQVDIHDWPRVSKHUHDWWKH'()(1'$17/$%&253IDFLOLW\RQ1RUWKODNH%OYG




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   LQ3DOP%HDFK*DUGHQV)ORULGDRQ)ULGD\-DQXDU\ZDVIXUWKHUDFFHQWXDWHGE\WKHFKDRWLF

                                                     IE
   PXVLFDOFKDLUVRIWKHZDLWLQJSDWLHQWVZLWKPDQ\SDWLHQWVOLQHGXSDQGZDLWLQJWKHLUWXUQRQO\WR
                                                   IF
   EH³EXPSHG´E\QHZSDWLHQWVDUULYLQJZLWKSUHDSSRLQWPHQWVZKRZRXOGEHSXVKHGWRWKHIURQWRI
   EH³EXPSHG´E\QHZSDWLHQWVDUULYLQJZLWKSUHDSSRLQWPHQWVZKRZRXOGEHSXVKHGWRWKHIURQWRI

   WKHOLQH
                                          RT


                  5HFRUGV HYHQWXDOO\ REWDLQHG IURP '()(1'$17 /$%&253 LQGLFDWH EORRG
                                 CE



   SXUSRUWHGO\ WR EH WKDW GUDZQ IURP &KULVWLDQ 'XOFLH RQ )ULGD\ -DQXDU\   DW WKH

   '()(1'$17/$%&253IDFLOLW\RQ1RUWKODNH%OYGLQ3DOP%HDFK*DUGHQVDUULYHGLQ1RUWK
                                A




   &DUROLQD RQ 7XHVGD\ -DQXDU\   ± ZLWK QR FKDLQRIFXVWRG\ ORJ DV WR ZKHUH &KULVWLDQ
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   'XOFLH¶VEORRGZHQWIURPWKHWLPHRIKLVYHQLSXQFWXUHRQ-DQXDU\DWWKH'()(
   'XOFLH¶VEORRGZHQWIURPWKHWLPHRIKLVYHQLSXQFWXUHRQ-DQXDU\DWWKH'()(1'$17
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   /$%&253IDFLOLW\LQ3DOP%HDFK*DUGHQVWKURXJKLWVFRXUVHRIWUDYHOVRYHUWKHQH[WIRXUGD\V
        N




                  ,QLWV-DQXDU\UHSRUWRIWKHDQDO\VLVRIEORRGDOOHJHGWRKDYHEHHQGUDZQ

   IURP&KULVWLDQ'XOFLHDW'()(1'$17/$%&253RQ1RUWKODNH%OYGLQ3DOP%HDFK*DUGHQV

   )ORULGDWKH'()(1'$17/$%&253LGHQWLILHGH[SUHVVLRQRIDEQRUPDOFORQDO%FHOOVSUHVHQW

   DQGPDNLQJXSQHDUO\RIWKHWRWDOFHOOSRSXODWLRQZLWKHPSKDVLVRQSRVLWLYH&'DQG&'
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   'XOFLHY/DEFRUSHWDO
   &RPSODLQW
   3DJH

   PDUNHUVDQGFRQFOXGLQJWKHILQGLQJVWREHW\SLFDORIWKHFDQFHUSKHQRW\SHDQGHPHUJLQJGLVHDVH

   SURFHVVRI&KURQLF/\PSKRF\WLF/HXNHPLD1RQ+RGJNLQ¶V/\PSKRPD

                  8QEHNQRZQVW WR &KULVWLDQ 'XOFLH DQG KLV WUHDWLQJ SK\VLFLDQV DW WKH WLPH DQG

   SUHVXPDEO\XQEHNQRZQVWWRWKHVHFRQGYLFWLPRI'()(1'$17/$%&253¶VHUURUVWKH
   SUHVXPDEO\XQEHNQRZQVWWRWKHVHFRQGYLFWLPRI'()(1'$17/$%&253¶V
   SUHVXPDEO\XQEHNQRZQVWWRWKHVHFRQGYLFWLPRI'()(1'$17/$%&253¶VHUURUVWK
                                                                           HUURUVWK

   EORRGWKDW'()(1'$17/$%&253DQDO\]HGLQLWV1RUWK&DUROLQDIDFLOLW\RQ-DQXDU\DQG




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   -DQXDU\   WR SURGXFH WKH -DQXDU\   IORZ F\WRPHWU\ UHVXOWV RI &//1+/ IRU




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   &KULVWLDQ'XOFLHZDVQRWDQGFRXOGQRWKDYHEHHQWKHEORRGRI&KULVWLDQ'XOFLH±DQLQGLVSXWDEOH
   &KULVWLDQ'XOFLHZDVQRWDQGFRXOGQRWKDYHEHHQWKHEORRGRI&KULVWLDQ'XOFLH

   VFLHQWLILF PHGLFDO IDFW WKDW RQO\ '()(1'$17 /$%&253 NQHZ DW WKH WLPH EXW ZKLFK WKH\




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   FRQFHDOHGIURPWKH3ODLQWLII&KULVWLDQ'XOFLHIRUPRUH\HDUV

                                                      IE
                     $V D GLUHFW UHVXOW RI '()(1'$17 /$%&253¶V -DQXDU\   GHWDLOHG
                                                       IF
   SHUVXDVLYHODERUDWRU\UHSRUWRQVSHFLILFFDQFHUPDUNHUVIRXQGLQWKHEORRGSXUSRUWHGWREHWKDWRI

   &KULVWLDQ 'XOFLH KH ZDV GLDJQRVHG ZLWK DQ HPHUJLQJ &KURQLF /\PSKRF\WLF /HXNHPLD1RQ
                                            RT


   +RGJNLQ¶V/\PSKRPDLQDQGDGYLVHGWRFRQWLQXHRQFRORJLFDOFDUHDQGVXUYHLOODQFH
   +RGJNLQ¶V/\PSKRPDLQDQGDGYLVHGWRFRQWLQXHRQFRORJLFDOFDUHDQGVXUYHLOODQFH6XFK
                                  CE



   RQFRORJLFDO FDUH DQG VXUYHLOODQFH LQFOXGHG LQYDVLYH ERQH PDUURZ WHVWLQJ DQG KLJK OHYHOV RI

   UDGLDWLRQLPDJLQJWHVWVLQFOXGLQJIXOOERG\3(7VFDQV
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                  (IIRUWVZHUHXQGHUWDNHQE\&KULVWLDQ'XOFLHE\SKRQHDQGLQZULWLQJEHJLQQLQJLQ
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   )HEUXDU\DQG0DUFKRIWRREWDLQKLVFRPSOHWHILOHRIDOOORJVUHFRUGVDQGRWKHUSDWKRORJ\
              O




   PDWHULDOV LQ WKH FXVWRG\ RI '()(1'$17 /$%&253 ZKLFK ZHUH GHQLHG E\ '()(1'$17
        N




   /$%&253 GHVSLWH FOHDU DXWKRUL]DWLRQ 7KLV FOHDUO\ SXW '()(1'$17 /$%&253 RQ QRWLFH

   DERXW WKH WHVWLQJ DQG UHVXOWV RI 0U 'XOFLH¶V EORRG WHVWV WKDW FRXOG UHVXOW LQ IXWXUH FODLPV RU

   OLWLJDWLRQ'()(1'$17/$%&253DOVRKDGDGXW\WRSUHVHUYHVXFKHYLGHQFHSXUVXDQWWR)HGHUDO

   /DZXQGHU7LWOH&)53DUW
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   'XOFLHY/DEFRUSHWDO
   &RPSODLQW
   3DJH

                  '()(1'$17/$%&253ZDVDOVRUHTXHVWHGLQZULWLQJE\&KULVWLDQ'XOFLHDQG

   KLVUHSUHVHQWDWLYHVEHJLQQLQJLQWRSUHVHUYHDOORIKLVSDWKRORJ\UHFRUGVFKDLQRIFXVWRG\

   ORJVQRWHVVOLGHVDQGRWKHUWHVWLQJPDWHULDOVDVUHTXLUHGE\&/,$DQG&$3VWDQGDUGVZKHUH

   \HDUVUHWHQWLRQLVFLWHGDVWKHPLQLPXPSHULRGIRUSUHVHUYLQJWKHVOLGHV

                  :KHQ WKH UHTXHVWV ZHUH PDGH LQ  0 5DFKDHO 'LPRQW 6HQLRU &RUSRUDWH




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   &RXQVHO ZDV PDGH DZDUH RI VXFK UHTXHVWV DORQJ ZLWK 'HDQQD 3HDGHQ /DERUDWRU\ 6XSSRUW




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   6XSHUYLVRURI:RPHQ¶V+HDOWK*HQHWLFVDQG2QFRORJ\7KH\ZHUHUHVSRQVLEOHIRUWKHKDQGOLQJ
                                                        7KH\ZHUHUHVSRQVLEOHIRUWKHKDQGOLQJ

   RIWKHUHTXHVWVDQGZHUHDFWLQJRQEHKDOIRI'HIHQGDQW/$%&253




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                  6XEVHTXHQW UHSHDW WHVWLQJ ZDV GRQH WKDW SURYLGHG UHVXOWV LQFRQVLVWHQW ZLWK

                                                      IE
   '()(1'$17 /$%&253¶V ILQGLQJ ZKLFK GUHZ LQWR TXHVWLRQ WKH YDOLGLW\ RI VXFK WHVWLQJ
                                                    IF
   KRZHYHU EHFDXVH '()(1'$17 /$%&253 QHYHU SURYLGHG DQ\ RI WKH UHTXHVW PDWHULDOV DQG

   EORRGVSHFLPHQV&KULVWLDQ'XOFLHFRXOGQRWGHWHUPLQHZKDWHUURULIDQ\RFFXUUHGZKHWKHULVZDV
                                          RT


   D PLVLQWHUSUHWDWLRQ E\ WKH KHPDWRSDWKRORJLVW DW /$%&253 RU DQ HUURU E\ WKH RQFRORJLVW 7KH
                                 CE



   FRQFHDOPHQW RI VXFK LQIRUPDWLRQ DQG GDWD FDXVHG &KULVWLDQ 'XOFLH WR FRQWLQXH ZLWK LQYDVLYH

   RQFRORJLFDOPDQDJHPHQWDQGVXSHUYLVLRQIRUWKHQH[W\HDUVZKLFKOHGWRHPRWLRQDOGLVWUHVVDQG
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   RQJRLQJDQ[LHW\
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                  $VDUHVXOWRIWKHFRQFHDOPHQWRIWKHWHVWLQJGDWD&KULVWLDQ'XOFLHUHPDLQHGXQGHU
              O




   RQFRORJLFDOFDUHDQGVXUYHLOODQFHIRUWKHWHUPLQDOFDQFHUSURFHVV05DFKDHO'LPRQWDQG'HDQQD
        N




   3HDGHQFRQVLVWHQWO\SUHYHQWHGWKHGLVFORVXUHRILPSRUWDQWGDWDIRU\HDUVEHWZHHQDQG

   LQFOXGLQJWKHEORRGVSHFLPHQVUHTXLVLWLRQIRUPVDQGXQGHUO\LQJGDWD

                  ,WZDVQ¶WXQWLOUHSHDWIORZF\WRPHWU\WHVWLQJIURPDQRXWVLGHSURYLGHULQODWH

   WKDWFDPHEDFNQHJDWLYHIRUFDQFHUFHOOVWKDW&KULVWLDQ'XOFLHIHOWFRPSHOOHGWRSURFXUHRXWVLGH
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   'XOFLHY/DEFRUSHWDO
   &RPSODLQW
   3DJH

   KHPDWRSDWKRORJ\H[SHUWLVHWRLQYHVWLJDWHWKHYDOLGLW\RI'()(1'$17/$%&253¶VFDQFHU

   WHVWDQGUHVXOWV

                  $ WKRURXJK LQYHVWLJDWLRQ DQG UHYLHZ RI WKLV PDWWHU FRQGXFWHG LQ  E\ SUH

   HPLQHQW'XNHKHPDWRORJLVW.HQ<RXQJ0'ZLWKRXWWKHVXSSRUWRI'()(1'$17/$%&253

   ZKRKDVFRQWLQXHGWRFRQFHDOWKHLUDFWLRQVDQGSDWKRORJ\HYLGHQFHKDVSURYHQWKHUHDUH12FDQFHU




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   PDUNHUVLQ&KULVWLDQ'XOFLH¶VEORRGDIWHUUHSHDWHGWHVWLQJWKURXJKODWHDQGQRFOLQLFDOVLJQV
   PDUNHUVLQ&KULVWLDQ'XOFLH¶VEORRGDIWHUUHSHDWHGWHVWLQJWKURXJKODWHDQGQRFOLQLFDOVLJQV




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   RIWKHHPHUJLQJFDQFHUSURFHVVGHILQHGE\'()(1'$17/$%&253LQ WKHLUWHVWLQJUHSRUWRI

   -DQXDU\




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                  2Q0DUFK'HDQQD3HDGHQ/DERUDWRU\6XSSRUW6XSHUYLVRUDW/$%&253

                                                       IE
   LQIRUPHG&KULVWLDQ'XOFLHIRUWKHILUVWWLPH\HDUVDIWHUWKH WHVWLQJWKDW³>WKH\@QRORQJHUKDYH
   LQIRUPHG&KULVWLDQ'XOFLHIRUWKHILUVWWLPH\HDUVDIWHUWKHWHVWLQJWKDW³>WKH\@QRORQJHUKDYH
                                                     IF
   WKHEORRGVSHFLPHQWKDWZDVXWLOL]HGIRUWKHIORZF\WRPHWU\WHVWLQJ7KHVSHFLPHQZDVGLVFDUGHG

   DIWHUVHYHQGD\VLQDFFRUGDQFHZLWKRXUVSHFLPHQUHWHQWLRQSROLF\:HQHYHUUHFHLYHGDQ\WLVVXH
                                            RT


   LQFRQQHFWLRQZLWKWKLVWHVWLQJDQGZHGRQRWKDYHDQ\RWKHUWLVVXHRUVOLGHVIRU0U'XOFLHLQ
                                  CE



   FRQQHFWLRQZLWKDQ\RWKHUWHVWLQJ´

                  7KLVDFWRIGHVWUXFWLRQRIHYLGHQFHVSHFLILFDOO\WKHEORRGVSHFLPHQVDQGFKDLQRI
                                A




   FXVWRG\UHFRUGVE\/$%&253DQGLWVHPSOR\HHVLVLQYLRODWLRQVRI7LWOH&)53DUWDQG
               T




   YLRODWHV&/,$DQG&$3VWDQGDUGV
              O




                  '()(1'$17 /$%&253 VSHFLILFDOO\ LGHQWLILHG WKH EORRG SURGXFW ODEHOHG DV
        N




   &KULVWLDQ 'XOFLH¶V
              'XOFLH¶V ZLWK VSHFLPHQ QXPEHU  ZKLOH KDYLQJ D VHSDUDWH VXUJLFDO

   SDWKRORJ\ QXPEHU LGHQWLILHG DV 6- ZKLFK LOOXVWUDWHV WKDW WKH\ KDG VOLGHV DQG VXUJLFDO

   SDWKRORJ\VSHFLPHQVWKDWUHTXLUHGUHWHQWLRQWRZKLFK/$%&253FODLPVQRORQJHUH[LVWVRUKDV

   EHHQGHVWUR\HG
Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 15 of 95


   'XOFLHY/DEFRUSHWDO
   &RPSODLQW
   3DJH

                  '()(1'$17 /$%&253 PDGH D FRQFHUWHG HIIRUW WR FRQFHDO DQG GHVWUR\ WKHLU

   ODERUDWRU\GDWDDQGEORRGVSHFLPHQVZKLOHZLWKKROGLQJFULWLFDOGDWDRYHUDSHULRGRI\HDUVWKDW

   PDGH GHWHUPLQLQJ ZKDW DFWXDO HUURUV WR SODFH WR EH LPSRVVLEOH '()(1'$17 /$%&253¶V

   DFWLRQVSUHFOXGHG3ODLQWLIIIURPKDYLQJDQLQGHSHQGHQWDQDO\VLVRIWKHEORRGVSHFLPHQSURGXFW

   WKH\WHVWHGDQGUHSUHVHQWHGZKDWZDVKLVEORRGLQILQDOUHSRUWV<HW'()(1'$17/$%&253




                                                                            PY
   QRZFODLPVWKHSDWKRORJ\PDWHULDOVUHODWHGWR&KULVWLDQ'XOFLHZHUHGLVFDUGHGDQGRUDUHQRWLQ




                                                                          CO
   WKHLUSRVVHVVLRQIXUWKHULQJ'()(1'$17/$%&253¶VIUDXGDQGFRQFHDOPHQWLQWKLVPDWWHU
   WKHLUSRVVHVVLRQIXUWKHULQJ'()(1'$17/$%&253¶VIUDXGDQGFRQFHDOPHQWLQWKLVPDWWHU

                  7KHLQYHVWLJDWLRQDQGFRQFOXVLRQVRI.HQ<RXQJ0'LQZDVWKHILUVWWLPH




                                                          D
   DQ\LQIRUPDWLRQZDVNQRZQRUFRXOGKDYHEHHQNQRZQWKDWWKHDEQRUPDOIORZF\WRPHWU\ILQGLQJV

                                                       IE
   UHSRUWHGE\'()(1'$17/$%&253RQ-DQXDU\ZHUHQRWGHULYHGIURPWKHEORRGRI
                                                     IF
   &KULVWLDQ'XOFLHEXWUDWKHUZHUHDFRPSOHWHO\GLIIHUHQWEORRGSURGXFWRUWHVWRIDQRWKHUSDWLHQW,W

   LVVFLHQWLILFDOO\LPSRVVLEOHIRUWKRVHDEQRUPDOFDQFHUPDUNHUVWRGLVDSSHDUDQGIRUWKHSDWLHQW¶V
                                           RT


   PDUURZWRFHDVHSURGXFWLRQRIWKHDEHUUDQWFORQLQJRIWKHVHFHOOVDQGLQIDFWWKHGLVHDVHSURFHVV
                                  CE



   RQO\ZRUVHQVRYHUWLPH

                  &KULVWLDQ'XOFLHOHDUQHGLQWKURXJKWKHGLOLJHQWZRUNRI.HQ<RXQJ0'
                                A




   WKDWQRWRQO\GLGKHQRWHYHUKDYHFDQFHUEXWWKDWWKHEORRGKHJDYHRQ-DQXDU\DWWKH
               T




   '()(1'$17/$%&253RQ1RUWKODNH%OYGLQ3DOP%HDFK*DUGHQV)ORULGDZDVQRWWKHVDPH
              O




   EORRGWKDWHQGHGXSDWWKH1RUWK&DUROLQDIDFLOLW\DQGZKLFKZDVIUDXGXOHQWO\DVVLJQHGWRKLVQDPH
        N




   DQGJLYHQDGLDJQRVLVRIFDQFHU

                  8QWLO 'U <RXQJ¶V LQYHVWLJDWLRQ DQG ILQGLQJV &KULVWLDQ 'XOFLH KDG QR ZD\ RI

   NQRZLQJ RI WKH  ODERUDWRU\ HUURU RI DQRWKHU EORRG SURGXFW DQGRU RWKHU¶V WHVW E\ WKH

   '()(1'$17/$%&253ZKLFKFDXVHGKLPWREHIDOVHO\GLDJQRVHGZLWKFDQFHU
Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 16 of 95


   'XOFLHY/DEFRUSHWDO
   &RPSODLQW
   3DJH

                  '()(1'$17/$%&253NQHZRUVKRXOGKDYHNQRZQRIWKHLUHUURUDWWKHWLPHRI

   WHVWLQJLQ-DQXDU\DQGFHUWDLQO\E\WKHWLPHPXOWLSOHLQTXLULHVZHUHEHLQJPDGHRIWKHPLQ

   WKHPRQWKVWRIROORZZKHUHWKH\GHQLHGDFFHVVWR&KULVWLDQ'XOFLH¶VIXOOILOHDQGHQJDJHGLQWKH

   GHVWUXFWLRQRIHYLGHQFH

                  '()(1'$17/$%&253HLWKHULQWHQWLRQDOO\IDLOHGWRLQYHVWLJDWHWKHLUODERUDWRU\




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   EORRG VDPSOLQJ HUURU RU WKH\ FKRVH WR LQWHUQDOL]H WKHLU ILQGLQJV DQG FRQFHDO WKH HUURU IURP




                                                                              CO
   &KULVWLDQ'XOFLHKLVWUHDWLQJSK\VLFLDQVDQGWKHRWKHUYLFWLPRIWKHODERUDWRU\HUURUFRQVWLWXWLQJ

   DQRYHUWDFWRIIUDXGDQGFRQFHDOPHQW




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                                &2817,
          )5$8'8/(17&21&($/0(17$*$,167'()(1'$17/$%25$725<
                         &25325$7,212)$0(5,&$        IE
                                                       IF
                  3ODLQWLII
                      ODLQWLII &+5,67,$1 '8/&,( LQGLYLGXDOO\ UHDOOHJHV DQG LQFRUSRUDWHV E\

   UHIHUHQFHWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKVWKURXJKDQGIXUWKHUDOOHJHV
                                             RT


                  'HIHQGDQW /$%&253 RZHG D GXW\ WR &+5,67,$1 '8/&,( WR ODERUDWRU\
                                   CE



   WHVWLQJDQGSURGXFWVLQDFFRUGDQFHZLWKSUHYDLOLQJODERUDWRU\VWDQGDUGVDQGLQDFFRUGDQFHZLWK

   6WDWHDQG)HGHUDOODZLQOLJKWRIDOOUHOHYDQWFLUFXPVWDQFHV
                                A




                  8QGHU&)5'HIHQGDQW/$%&253KDGDOHJDOREOLJDWLRQWRUHWDLQ
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   WKHIROORZLQJ
              O




                      D 7KHODERUDWRU\PXVWUHWDLQLWVUHFRUGVDQGDVDSSOLFDEOHVOLGHVEORFNV
        N




                     DQGWLVVXHVDVIROORZV

                       7HVWUHTXLVLWLRQVDQGDXWKRUL]DWLRQV5HWDLQUHFRUGVRIWHVWUHTXLVLWLRQV
                     DQG WHVW DXWKRUL]DWLRQV LQFOXGLQJ WKH SDWLHQW V FKDUW RU PHGLFDO UHFRUG LI
                     XVHGDVWKHWHVWUHTXLVLWLRQRUDXWKRUL]DWLRQIRUDWOHDVW\HDUV

                       7HVWSURFHGXUHV5HWDLQDFRS\RIHDFKWHVWSURFHGXUHIRUDWOHDVW\HDUV
                     DIWHUDSURFHGXUHKDVEHHQGLVFRQWLQXHG(DFKWHVWSURFHGXUHPXVWLQFOXGH
                     WKHGDWHVRILQLWLDOXVHDQGGLVFRQWLQXDQFH
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   'XOFLHY/DEFRUSHWDO
   &RPSODLQW
   3DJH

                       $QDO\WLFV\VWHPVUHFRUGV5HWDLQTXDOLW\FRQWURODQGSDWLHQWWHVWUHFRUGV
                      LQFOXGLQJLQVWUXPHQWSULQWRXWVLIDSSOLFDEOH DQGUHFRUGVGRFXPHQWLQJDOO
                     DQDO\WLFV\VWHPVDFWLYLWLHVVSHFLILHGLQWKURXJKIRUDW
                     OHDVW\HDUV,QDGGLWLRQUHWDLQWKHIROORZLQJ

                      L  5HFRUGV RI WHVW V\VWHP SHUIRUPDQFH VSHFLILFDWLRQV WKDW WKH ODERUDWRU\
                     HVWDEOLVKHVRUYHULILHVXQGHUIRUWKHSHULRGRIWLPHWKHODERUDWRU\
                     XVHVWKHWHVWV\VWHPEXWQROHVVWKDQ\HDUV




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                      LL  ,PPXQRKHPDWRORJ\ UHFRUGV EORRG DQG EORRG SURGXFW UHFRUGV DQG
                     WUDQVIXVLRQ UHFRUGV DV VSHFLILHG LQ  &)5  E  LL  E  LY 
                      E  Y DQG G 




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                       3URILFLHQF\WHVWLQJUHFRUGV5HWDLQDOOSURILFLHQF\WHVWLQJUHFRUGVIRUDW
                     OHDVW\HDUV




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                        4XDOLW\ V\VWHP DVVHVVPHQW UHFRUGV  5HWDLQ DOO ODERUDWRU\ TXDOLW\
                     V\VWHPVDVVHVVPHQWUHFRUGVIRUDWOHDVW\HDUV
                                                         IE
                       7HVWUHSRUWV5HWDLQRUEHDEOHWRUHWULHYHDFRS\RIWKHRULJLQDOUHSRUW
                                                       IF
                      LQFOXGLQJILQDOSUHOLPLQDU\DQGFRUUHFWHGUHSRUWV DWOHDVW\HDUVDIWHUWKH
                     GDWHRIUHSRUWLQJ,QDGGLWLRQUHWDLQWKHIROORZLQJ
                                             RT


                      L ,PPXQRKHPDWRORJ\UHSRUWVDVVSHFLILHGLQ&)5 G 

                      LL 3DWKRORJ\WHVWUHSRUWVIRUDWOHDVW\HDUVDIWHUWKHGDWHRIUHSRUWLQJ
                                     CE




                        6OLGHEORFNDQGWLVVXHUHWHQWLRQ
                       6OLGHEORFNDQGWLVVXHUHWHQWLRQ²

                      L 6OLGHV
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                      $ 5HWDLQF\WRORJ\VOLGHSUHSDUDWLRQVIRUDWOHDVW\HDUVIURPWKHGDWHRI
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                     H[DPLQDWLRQ VHH I IRUSURILFLHQF\WHVWLQJH[FHSWLRQ 
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                      %  5HWDLQ KLVWRSDWKRORJ\ VOLGHV IRU DW OHDVW  \HDUV IURP WKH GDWH RI
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                     H[DPLQDWLRQ

                      LL %ORFNV5HWDLQSDWKRORJ\VSHFLPHQEORFNVIRUDWOHDVW\HDUVIURPWKH
                     GDWHRIH[DPLQDWLRQ

                      LLL 7LVVXH3UHVHUYHUHPQDQWVRIWLVVXHIRUSDWKRORJ\H[DPLQDWLRQXQWLOD
                     GLDJQRVLVLVPDGHRQWKHVSHFLPHQ
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   'XOFLHY/DEFRUSHWDO
   &RPSODLQW
   3DJH

                      E ,IWKHODERUDWRU\FHDVHVRSHUDWLRQWKHODERUDWRU\PXVWPDNHSURYLVLRQV
                     WRHQVXUHWKDWDOOUHFRUGVDQGDVDSSOLFDEOHVOLGHVEORFNVDQGWLVVXHDUH
                     UHWDLQHGDQGDYDLODEOHIRUWKHWLPHIUDPHVVSHFLILHGLQWKLVVHFWLRQ

                  '()(1'$17/$%&253FRQFHDOHGRUIDLOHGWRGLVFORVHPDWHULDOIDFWVLQ

   LQFOXGLQJWKHKLVWRSDWKRORJ\VOLGHVWHVWLQJGDWDIURPWKHIORZF\WRPHWU\UHTXLVLWLRQIRUPVDQG

   XQGHUO\LQJSHUIRUPDQFHGDWD




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                                                                                          IDFWV
                     '()(1'$17 /$%&253 NQHZ RU VKRXOG KDYH NQRZQ WKDW WKH PDWHULDO IDFW




                                                                              CO
   VKRXOGEHGLVFORVHGWR&+5,67,$1'8/&,(LQRUGHUWRGHWHUPLQHZKDWLIDQ\HUURUVRUSUREOHPV

   RFFXUUHGZLWKWKHWHVWLQJDQGWHVWUHVXOWV




                                                            D
                  '()(1'$17 /$%&253 NQHZ LWV FRQFHDOPHQW RI RU IDLOXUH WR GLVFORVH WKH

                                                         IE
   PDWHULDOIDFWLHWKDWEORRGWHVWHGDQGRUUHVXOWLQJODEUHVXOWZDVQRWKLVZRXOGLQGXFHWKH3ODLQWLII
                                                       IF
   WRFRQWLQXHZLWKRQFRORJ\WHVWLQJDQGZRXOGEHXQDEOHWRLQYHVWLJDWHWKHGLVFUHSDQF\LQWKHWHVWLQJ

   GDWDLQGLFDWLQJDWHUPLQDOFDQFHUGLDJQRVLV
                                             RT


                  '()(1'$17/$%&253KDGDGXW\WRGLVFORVHWKDWLQIRUPDWLRQRQFHUHTXHVWHG
                                   CE



   E\WKH3ODLQWLIILQDFFRUGDQFHZLWK6WDWHDQG)HGHUDOODZ

                  7KH 3ODLQWLII GHWULPHQWDOO\ UHOLHG RQ WKH FRQFHDOHG LQIRUPDWLRQ LQ WKDW LW KDG QR
                                A




   UHDVRQDEOHZD\RINQRZLQJWKDWWKHIORZF\WRPHWU\ODEWHVWZDVGHIHFWLYHWKDWWKHEORRGWHVWLQJ
               T




   ZDV QRW KLV DQG WKDW WKH ODE UHSRUW SURGXFHG WR KLP ZDV IUDXGXOHQWO\ LGHQWLILHG DV KLV UHVXOWV
              O




   WKHUHE\UHTXLULQJKLPWRXQGHUJRIXUWKHUWHVWLQJDQGWKHLQDELOLW\WRGHWHUPLQHZKDWRFFXUUHGZLWK
        N




   KLVEORRGWHVWDQGUHVXOWV

                  $VDGLUHFWDQGSUR[LPDWHUHVXOWRIWKHDFWVDQGRPLVVLRQVRI'HIHQGDQW/$%&253

   3ODLQWLII &+5,67,$1 '8/&,( VXIIHUHG SHUPDQHQW ERGLO\ LQMXULHV UHVXOWLQJ LQ SDLQ DQG

   VXIIHULQJ GLVDELOLW\SK\VLFDO LPSDLUPHQW SDVW DQG IXWXUH PHGLFDO H[SHQVHV H[SHQVH RI

   KRVSLWDOL]DWLRQLQFRQYHQLHQFHGLVDELOLW\PHQWDODQJXLVKORVVRIHQMR\PHQWRIOLIHORVVYDOXHRI
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   'XOFLHY/DEFRUSHWDO
   &RPSODLQW
   3DJH

   JUDWXLWRXVVHUYLFHVORVVRIHDUQLQJVORVVRIDELOLW\WRHDUQPRQH\DQGDJJUDYDWLRQRIDSUHYLRXVO\

   H[LVWLQJFRQGLWLRQ7KHORVVHVDUHSHUPDQHQWDQGFRQWLQXLQJDQG3ODLQWLIIZLOOFRQWLQXHWRVXIIHU

   WKHVHORVVHVLQWKHIXWXUH

            :+(5()25( WKH 3ODLQWLII &+5,67,$1 '8/&,( LQGLYLGXDOO\ GHPDQG MXGJPHQW

   DJDLQVW'HIHQGDQW/$%&253IRUWKHVHGDPDJHVDQGDOORWKHUGDPDJHVDOORZDEOHE\ODZDQG




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   GHPDQGVFRVWVSRVWMXGJPHQWLQWHUHVWDQGDWULDOE\MXU\




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                                    &2817,,
              %5($&+2)(;35(66:$55$17<%<'()(1'$17/$%25$725<
                            &25325$7,212)$0(5,&$




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                  3ODLQWLII
                      ODLQWLII &+5,67,$1 '8/&,( LQGLYLGXDOO\ UH
                                                                    UHDOOHJHV
                                                                      DOOHJHV DQG LQFRUSRUDWHV E\

                                                       IE
   UHIHUHQFHWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKVWKURXJKDQGIXUWKHUDOOHJHV
                                                     IF
                  '()(1'$17/$%&253XWLOL]HVD*5((1)ORZ&\WR0ROHFXODUFROOHFWLRQNLWV

   ZKHUHLQLWPDUNHWVDQGH[SOLFLWO\VWDWHVWKDWWKHWHVWLQJDQGEORRGSURGXFWWKDWLVEHLQJLQWHUSUHWHG
                                           RT


   LV WKH FRQVXPHU¶V EORRG DQG WKDW WKH WHVWLQJ SURGXFW SURGXFHV UHVXOWV EDVHG RQ WKH FRQVXPHU¶V
                                    CE



   EORRG

                  '()(1'$17/$%&253SURSULHWDU\WHVWLQJPDWHULDOVDQGUHSRUWQHYHULQGLFDWHG
                                A




   WKDW WKH WHVWLQJ SURGXFW RU EORRG WHVWHG ZDV DQRWKHU FRQVXPHU¶V EORRG ,Q IDFW LW H[SUHVVO\
                T




   UHSUHVHQWHGWKDWWKHWHVWSURGXFWZDVWKDWRIWKHFRQVXPHU&KULVWLDQ'XOFLH
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                  '()(1'$17/$%&253H[SUHVVO\ZDUUDQWHGWKDWWKHEORRGSURGXFWDQGWHVWLQJ
        N




   SURGXFWZDVWKDWRIFRQVXPHU&KULVWLDQ'XOFLH'()(1'$17/$%&253H[SUHVVO\ZDUUDQWHG

   WKDWLWVWHVWUHVXOWVZHUHEDVHGRQWKHEORRGRI&KULVWLDQ'XOFLH

                  '()(1'$17 /$%&253 EUHDFKHG LWV H[SUHVV ZDUUDQW\ RI PHUFKDQWDELOLW\ E\

   LQWHU DOLDVHOOLQJ DODEWHVWLQJSURGXFW DQGUHVXOWV WKDWGLGQRW FRQIRUP WRWKHSURPLVHVDQGRU

   DIILUPDWLRQV RI IDFW WKDW WKH WHVWLQJ ODEHO LQGLFDWHG 6SHFLILFDOO\ '()(1'$17 /$%&253
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   'XOFLHY/DEFRUSHWDO
   &RPSODLQW
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   ODEHOHGLWVWHVWLQJSURGXFWWREHWKDWRI&KULVWLDQ'XOFLHZKHQLQIDFWVXFKWHVWLQJZDVQRWEXW

   UDWKHUWKHWHVWSURGXFWRIDQRWKHUFRQVXPHU

                  $V D GLUHFW DQG SUR[LPDWH UHVXOW RI '()(1'$17 /$%&253¶6 EUHDFK RI WKH

   H[SUHVVZDUUDQW\RIPHUFKDQWDELOLW\3ODLQWLII&+5,67,$1'8/&,(VXIIHUHGSHUPDQHQWERGLO\

   LQMXULHV UHVXOWLQJ LQ SDLQDQG VXIIHULQJGLVDELOLW\SK\VLFDO LPSDLUPHQW SDVW DQGIXWXUHPHGLFDO




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   H[SHQVHVH[SHQVHRIKRVSLWDOL]DWLRQLQFRQYHQLHQFHGLVDELOLW\PHQWDODQJXLVKORVVRIHQMR\PHQW




                                                                              CO
   RI OLIH ORVV YDOXH RI JUDWXLWRXV VHUYLFHV ORVV RI HDUQLQJV ORVV RI DELOLW\ WR HDUQ PRQH\ DQG

   DJJUDYDWLRQ RI D SUHYLRXVO\ H[LVWLQJ FRQGLWLRQ  7KH ORVVHV DUH SHUPDQHQW DQG FRQWLQXLQJ DQG




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   3ODLQWLIIZLOOFRQWLQXHWRVXIIHUWKHVHORVVHVLQWKHIXWXUH

                                                         IE
            :+(5()25( WKH 3ODLQWLII &+5,67,$1 '8/&,( LQGLYLGXDOO\ GHPDQG MXGJPHQW
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   DJDLQVW'HIHQGDQW/$%&253IRUWKHVHGDPDJHVDQGDOORWKHUGDPDJHVDOORZDEOHE\ODZDQG
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   GHPDQGVFRVWVSRVWMXGJPHQWLQWHUHVWDQGDWULDOE\MXU\

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                 /$%25$725<&25325$7,212)$0(5,&$

                  3ODLQWLII
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   UHIHUHQFHWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKVWKURXJKDQGIXUWKHUDOOHJHV
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                  '()(1'$17/$%&253XWLOL]HVD*5((1)ORZ&\WR0ROHFXODUFROOHFWLRQNLW
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   ZKHUHLQLWPDUNHWVDQGH[SOLFLWO\VWDWHVWKDWWKHWHVWLQJDQGEORRGSURGXFWWKDWLVEHLQJLQWHUSUHWHG
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   LV WKH FRQVXPHU¶V EORRG DQG WKDW WKH WHVWLQJ SURGXFW SURGXFHV UHVXOWV EDVHG RQ WKH FRQVXPHU¶V

   EORRG
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   'XOFLHY/DEFRUSHWDO
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                  :KHQFRQVXPHUVFRPHWR/$%&253WHVWLQJVLWHVDQGSD\WRKDYHDFHUWDLQWHVW

   SHUIRUPHGWKHUHH[LVWVDQLPSOLHGZDUUDQW\RIPHUFKDQWDELOLW\WKDWWKHWHVWSURGXFWDQGUHVXOWLV

   WKDWRIWKHFRQVXPHU

                  /$%&253NQHZWKHSDUWLFXODUSXUSRVHIRUZKLFKWKHRQFRORJLFKHPDWRSDWKRORJ\

   WHVWLQJZDVEHLQJVROG±LHWRGHWHUPLQHLIFDQFHURXVFHOOVDUHLGHQWLILHGLQDFRQVXPHU¶VEORRG
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                  ,W LV UHDVRQDEO\ IRUHVHHDEOH WR /$%&253 WKDW WKH SURGXFW LH WKH FRS\ULJKWHG




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   /$%&253 WHVW WR ZKLFK /$%&253 35(3$5(6 ZKROH EORRGDQGSHULSKHUDO EORRG ILOPV IRU

   WHVWLQJZRXOGEHXVHGE\FRQVXPHUVOLNH&KULVWLDQ'XOFLHWRGHWHUPLQHLIWKH\KDYHKHPDWRORJLF




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   UHOLHGXSRQ/$%&253WRHQVXUHWKDWWKHWHVWLQJSURGXFWDQGEORRGILOPVDUHWKDWRIWKHFRQVXPHU

                  '()(1'$17 /$%&253 EUHDFKHG LWV LPSOLHG ZDUUDQW\ RI PHUFKDQWDELOLW\
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                      WKHWHVWSURGXFW EORRGILOPVDQGEORRGVPHDUV DQGWHVWUHVXOWVPDUNHWHGDQG
   EHFDXVHLQWHUDOLDWKHWHVWSURGXFW
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   VROGWRWKHFRQVXPHU&KULVWLDQ'XOFLHZHUHQRWWKDWRIWKHFRQVXPHU

                  WHVWLQJPDWHULDOVDQGUHSRUWQHYHULQGLFDWHGWKDWWKHWHVWLQJSURGXFWRUEORRGWHVWHG
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   ZDVDQRWKHUFRQVXPHU¶VEORRG,QIDFWLWH[SUHVVO\UHSUHVHQWHGWKDWWKHWHVWSURGXFWZDVWKDWRIWKH
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   FRQVXPHU&KULVWLDQ'XOFLH
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   SURGXFWZDVWKDWRIFRQVXPHU&KULVWLDQ'XOFLH'()(1'$17/$%&253H[SUHVVO\ZDUUDQWHG

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   LQWHU DOLDVHOOLQJ DODEWHVWLQJSURGXFW DQGUHVXOWV WKDWGLGQRW FRQIRUP WRWKHSURPLVHVDQGRU

   DIILUPDWLRQV RI IDFW WKDW WKH WHVWLQJ ODEHO LQGLFDWHG 6SHFLILFDOO\ '()(1'$17 /$%&253
Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 22 of 95


   'XOFLHY/DEFRUSHWDO
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   ODEHOHGLWVWHVWLQJSURGXFWWREHWKDWRI&KULVWLDQ'XOFLHZKHQLQIDFWVXFKWHVWLQJZDVQRWEXW

   UDWKHUWKHWHVWSURGXFWRIDQRWKHUFRQVXPHU

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   H[SUHVVZDUUDQW\RIPHUFKDQWDELOLW\3ODLQWLII&+5,67,$1'8/&,(VXIIHUHGSHUPDQHQWERGLO\

   LQMXULHV UHVXOWLQJ LQ SDLQDQG VXIIHULQJGLVDELOLW\SK\VLFDO LPSDLUPHQW SDVW DQGIXWXUHPHGLFDO




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   H[SHQVHVH[SHQVHRIKRVSLWDOL]DWLRQLQFRQYHQLHQFHGLVDELOLW\PHQWDODQJXLVKORVVRIHQMR\PHQW




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   RI OLIH ORVV YDOXH RI JUDWXLWRXV VHUYLFHV ORVV RI HDUQLQJV ORVV RI DELOLW\ WR HDUQ PRQH\ DQG

   DJJUDYDWLRQ RI D SUHYLRXVO\ H[LVWLQJ FRQGLWLRQ  7KH ORVVHV DUH SHUPDQHQW DQG FRQWLQXLQJ DQG




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   GHPDQGVFRVWVSRVWMXGJPHQWLQWHUHVWDQGDWULDOE\MXU\

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   UHIHUHQFHWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKVWKURXJKDQGIXUWKHUDOOHJHV
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                  'HIHQGDQW/$%&253
                     'HIHQGDQW/$%&253 LVDQLQGXVWU\OHDGHULQJHQHEDVHGDQGHVRWHULFWHVWLQJDQG
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   SURYLGHV D UDQJH RI IUHTXHQWO\ UHTXHVWHG DQG VSHFLDOW\ WHVWLQJ VHUYLFHV LQFOXGLQJ DQDWRPLF
   SURYLGHV
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   SDWKRORJ\RQFRORJ\WHVWLQJ

                  'HIHQGDQW /$%&253 PDLQWDLQV SURSULHWDU\ 4XDOLW\ 0DQDJHPHQW 6\VWHPV WR

   FRQVLVWHQWO\PHHWERWKUHJXODWRU\DQGFOLHQWUHTXLUHPHQWVDQGDFWLYHO\SURPRWHDFXOWXUHRITXDOLW\
Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 23 of 95


   'XOFLHY/DEFRUSHWDO
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                  'HIHQGDQW /$%&253 LV UHVSRQVLEOH IRU PDLQWDLQLQJ FRPSOHWH FRQVLVWHQW DQG

   DFFXUDWH GDWD IURP FUHDWLRQ WKURXJK DUFKLYDO DQG GHVWUXFWLRQ WKURXJK WKHLU SURSULHWDU\ 4XDOLW\

   0DQDJHPHQW6\VWHPVDQGWHVWLQJ

                  'HIHQGDQW/$%&253PDUNHWHGDQGVROGIORZF\WRPHWU\DQGKHPDWRORJ\WHVWLQJ

   SURGXFWGDWDDQGODERUDWRU\UHVXOWVZLWKWKHH[SHFWDWLRQWKDWLWZRXOGEHXVHGE\WKHFRQVXPHU

   ZLWKRXWVXEVWDQWLDOFKDQJH

                  7KHODERUDWRU\WHVWDQGSURGXFWUHVXOWZDVGHIHFWLYHDQGXQUHDVRQDEO\GDQJHURXV

   EHFDXVHLWZDVFRQWDPLQDWHGDQGXQILWIRULWVLQWHQGHGSXUSRVH

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   H[SUHVVZDUUDQW\RIPHUFKDQWDELOLW\3ODLQWLII&+5,67,$1'8/&,(VXIIHUHGSHUPDQHQWERGLO\

   LQMXULHV UHVXOWLQJ LQ SDLQDQGVXIIHULQJGLVDELOLW\SK\VLFDO LPSDLUPHQW SDVW DQGIXWXUHPHGLFDO

   H[SHQVHVH[SHQVHRIKRVSLWDOL]DWLRQLQFRQYHQLHQFHGLVDELOLW\PHQWDODQJXLVKORVVRIHQMR\PHQW

   RI OLIH ORVV YDOXH RI JUDWXLWRXV VHUYLFHV ORVV RI HDUQLQJV ORVV RI DELOLW\ WR HDUQ PRQH\ DQG

   DJJUDYDWLRQ RI D SUHYLRXVO\ H[LVWLQJ FRQGLWLRQ  7KH ORVVHV DUH SHUPDQHQW DQG FRQWLQXLQJ DQG

   3ODLQWLIIZLOOFRQWLQXHWRVXIIHUWKHVHORVVHVLQWKHIXWXUH

            :+(5()25( WKH 3ODLQWLII &+5,67,$1 '8/&,( LQGLYLGXDOO\ GHPDQG MXGJPHQW

   DJDLQVW'HIHQGDQW/$%&253IRUWKHVHGDPDJHVDQGDOORWKHUGDPDJHVDOORZDEOHE\ODZDQG

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   UHIHUHQFHWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKVWKURXJKDQGIXUWKHUDOOHJHV
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   'XOFLHY/DEFRUSHWDO
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                  $WDOOPDWHULDOWLPHVKHUHWR6($1)$55,(50'ZDVWKHPHGLFDOGLUHFWRURI

   /DEFRUS¶V6RXWKHDVWGLYLVLRQVLQFHDQGZDVUHVSRQVLEOHIRUWKHRSHUDWLRQVRIWKH6RXWKHDVW

   'LYLVLRQ RI /$%&253 ZKLFK LQFOXGHG WKH RSHUDWLRQV RI DOO WHVWLQJ VLWHV LQ )ORULGD DQG WKH

   1RUWKODNH%OYGORFDWLRQ

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   SURGXFWLRQRIKHPDWRSDWKRORJ\WHVWVLQ)ORULGD

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   /DERUDWRU\,PSURYHPHQW$PHQGPHQWV DV/$%&253RSHUDWHVDOOIDFLOLWLHVLQ)ORULGDXQGHUWKRVH

   VWDQGDUGV

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   PHGLFDOVWDQGDUGVLQDOOGLDJQRVWLFUHVHDUFKDQGGHYHORSPHQWDFWLYLWLHV

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   'XOFLHY/DEFRUSHWDO
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                     G )DLOXUHWRLGHQWLI\DQGFRUUHFWLPSURSHUIORZF\WRPHWU\ODEUHVXOWVDQG

                     H )DLOXUH WR KDYH SURSHU SURWRFROV IRU WKH LGHQWLI\ DQG WUDQVSRUWDWLRQ RI EORRG
                        WHVWLQJIRUKHPDWRORJLFDOFDQFHUWHVWLQJ

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   RI JUDWXLWRXV VHUYLFHV ORVV RI HDUQLQJV ORVV RI DELOLW\ WR HDUQ PRQH\ DQG DJJUDYDWLRQ RI D




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   SUHYLRXVO\H[LVWLQJFRQGLWLRQ7KHORVVHVDUHSHUPDQHQWDQGFRQWLQXLQJDQG3ODLQWLIIZLOOFRQWLQXH

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   DOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKVWKURXJKDQGIXUWKHUDOOHJHV
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   WKH/$%&2531RUWKODNH%OYGORFDWLRQLQ3DOP%HDFK*DUGHQV)ORULGD

                  $W DOO PDWHULDO WLPHV KHUHWR <2/$1'$ :$/721 KDG UHVSRQVLELOLW\ IRU WKH

   RYHUVLJKW DQG LPSOHPHQWDWLRQ RI WKH RSHUDWLRQV FROOHFWLRQV WUDQVSRUW DQG WHVWLQJ DW WKH

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Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 26 of 95


   'XOFLHY/DEFRUSHWDO
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                  $W DOO PDWHULDO WLPHV KHUHWR <2/$1'$ :$/721 KDG D GXW\ WR HQVXUH WKH

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   &/,$ &OLQLFDO/DERUDWRU\,PSURYHPHQW$PHQGPHQWV VWDQGDUGV

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   WKHWHVWLQJSURGXFWVDQGIORZF\WRPHWU\EORRGGUDZVZHUHWKDWRIWKHFRQVXPHUDQGZHUHSDFNDJHG

   DQGWUDQVSRUWHGLQFRPSOLDQFHZLWK*RRG&OLQLFDO3UDFWLFHV *&3 DQG*RRG/DERUDWRU\3UDFWLFHV

    */3 DQG*RRG0DQXIDFWXULQJ3UDFWLFHV *03 

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   RSHUDWH /$%&253 1RUWKODNH %OYG ORFDWLRQ LQ D PDQQHU WKDW LV FRQVLVWHQW ZLWK SURIHVVLRQDO

   ODERUDWRU\ VWDQGDUGV LQFRUSRUDWHG ZLWKLQ /$%&253¶V KLJKHVW HWKLFDO VFLHQWLILF DDQG PHGLFDO

   VWDQGDUGVLQDOOGLDJQRVWLFUHVHDUFKDQGGHYHORSPHQWDFWLYLWLHV

                  1RWZLWKVWDQGLQJWKHGXW\XQGHUWDNHQ'HIHQGDQW<2/$1'$:$/721GLGRU

   IDLOHGWRGRRQHRUPRUHRIWKHIROORZLQJDFWVDQ\RUDOORIZKLFKZHUHEUHDFKHVLQKHUGXW\RI

   FDUH

                     D )DLOXUHWRSURSHUO\SUHSDUHVSHFLPHQVIRUWHVWLQJ
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Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 27 of 95


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Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 28 of 95


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Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 29 of 95


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Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 30 of 95


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Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 31 of 95

                                                                                             RECEIPT
                                               JOSEPH ABRUZZO

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                              CLERK OF THE CIRCUIT COURT & COMPTROLLER
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                                         PALM BEACH COUNTY, FLORIDA                          07/10/2023 11:10
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                             Receipt Number: 4963297 - Date 07/10/2023 Time 11:10AM
    Received of:              Searcy Denney
                              6261 Windchime Place
                              Boynton Beach, FL 33472
    Cashier Name:             ADMIN                                        Balance Owed:                 401.00
    Cashier Location:         E-Filing                                     Total Amount Paid:            401.00
    Receipt ID:         11347074                                           Remaining Balance:              0.00
    Division:           AO: Circuit Civil Central - AO(Civil)
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          Case# 50-2023-CA-011853-XXXX-MB PLAINTIFF/PETITIONER: DULCIE, CHRISTIAN
                        Item                            Balance Paid     Bal Remaining
    Fees                                                          401.00            401.00                    0.00
    Case Total                                                   401.00           401.00                      0.00
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           Visit www.mypalmbeachclerk.com or call (561) 355-2996.
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FILED: PALM BEACH COUNTY, FL, JOSEPH ABRUZZO, CLERK, 08/29/2023 11:36:10 AM
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   WRWKHFRXUW\RXPXVWDOVRPDLORUWDNHDFRS\RI\RXUZULWWHQUHVSRQVHWRWKH³3ODLQWLII3ODLQWLII¶V
   $WWRUQH\´QDPHGEHORZ




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   8VWHG KD VLGR GHPDQGDGR OHJDOPHQWH 7LHQH  GLDV FRQWDGRV D SDUWLU GHO UHFLER GH HVWD
   QRWLILFDFLRQSDUDFRQWHVWDUODGHPDQGDDGMXQWDSRUHVFULWR\SUHVHQWDUODDQWHHVWHWULEXQDO8QD




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   OODPDGD WHOHIRQLFD QR OR SURWHJHUD 6L XVWHG GHVHD TXH HO WULEXQDO FRQVLGHUH VX GHIHQVD GHEH
   SUHVHQWDU VX UHVSXHVWD SRU HVFULWR LQFOX\HQGR HO QXPHUR GHO FDVR \ ORV QRPEUHV GH ODV SDUWHV
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   LQWHUHVDGDV 6L XVWHG QR FRQWHVWD OD GHPDQGD D WLHPSR SXGLHVH SHUGHU HO FDVR \ SRGULD VHU
   GHVSRMDGRGHVXVLQJUHVRV\SURSLHGDGHVRSULYDGRGHVXVGHUHFKRVVLQSUHYLRDYLVRGHOWULEXQDO
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   ([LVWHQRWURVUHTXLVLWRVOHJDOHV6LORGHVHDSXHGHXVWHGFRQVXOWDUDXQDERJDGRLQPHGLDWDPHQWH
   6LQRFRQRFHDXQDERJDGRSXHGHOODPDUDXQDGHODVRILFLQDVGHDVLVWHQFLDOHJDOTXHDSDUHFHQHQ
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   ODJXLDWHOHIRQLFD
   6LGHVHDUHVSRQGHUDODGHPDQGDSRUVXFXHQWDDOPLVPRWLHPSRHQTXHSUHVHQWDVXUHVSXHVWDDQWH
   HO WULEXQDO GHEHUD XVWHG HQYLDU SRU FRUUHR R HQWUHJDU XQD FRSLD GH VX UHVSXHVWD D OD SHUVRQD
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   GHODGDWHGHO¶DVVLJQDWLRQGHFHWWHFLWDWLRQSRXUGHSRVHUXQHUHSRQVHHFULWHDODSODLQWHFLMRLQWH
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   DXSUHVGHFHWULEXQDO8QVLPSOHFRXSGHWHOHSKRQHHVWLQVXIILVDQWSRXUYRXVSURWHJHU9RXVHWHV
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   REOLJHVGHGHSRVHUYRWUHUHSRQVHHFULWHDYHFPHQWLRQGXQXPHURGHGRVVLHUFLGHVVXVHWGXQRP
   GHVSDUWLHVQRPPHHVLFLVLYRXVVRXKDLWH]TXHOHWULEXQDOHQWHQGHYRWUHFDXVH6LYRXVQHGHSRVH]
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   SDVYRWUHUHSRQVHHFULWHGDQVOHUHODLUHTXLVYRXVULVTXH]GHSHUGUHODFDXVHDLQVLTXHYRWUHVDODLUH
   YRWUHDUJHQWHWYRVELHQVSHXYHQWHWUHVDLVLVSDUODVXLWHVDQVDXFXQSUHDYLVXOWHULHXUGXWULEXQDO
   ,O\DG¶DXWUHVREOLJDWLRQVMXULGLTXHVHWYRXVSRXYH]UHTXHULUOHVVHUYLFHVLPPHGLDWVG¶XQDYRFDW
   6LYRXVQHFRQQDLVVH]SDVG¶DYRFDWYRXVSRXUULH]WHOHSKRQHUDXQVHUYLFHGHUHIHUHQFHG¶DYRFDWV
   RXDXQEXUHDXG¶DVVLVWDQFHMXULGLTXH ILJXUDQWDO¶DQQXDLUHGHWHOHSKRQHV 
   6LYRXVFKRLVLVVH]GHGHSRVHUYRXVPHPHXQHUHSRQVHHFULWHLOYRXVIDXGUDHJDOHPHQWHQPHPH
   WHPSV TXH FHWWH IRUPDOLWH IDLUH SDUYHQLU RX H[SHGLHU XQH FRSLH GH YRWUH UHSRQVH HFULWH DX
   ³3ODLQWLII3ODLQWLII¶V$WWRUQH\´ 3ODLJQDQWRXDVRQDYRFDW QRPPHFLGHVVRXV

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Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 35 of 95


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         DVWRVSURSLRVDTXHVHOHSURYHDFLHUWDD\XGD   7HQJDODDPDELOLGDGGH
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       SRQHUVHHQFRQWDFWRFRQ:LOOLDP+XWFKLQJV-U03$3+51'L[LH
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       WULEXQDOHVRLQPHGLDWDPHQWHGHVSXpVGHUHFLELUHVWDQRWLILFDFLyQVLHOWLHPSR
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       DQWHVGHODFRPSDUHFHQFLDTXHVHKDSURJUDPDGRHVPHQRVGHGtDVVLXVWHG
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FILED: PALM BEACH COUNTY, FL, JOSEPH ABRUZZO, CLERK, 08/29/2023 11:36:10 AM
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   GHSRVH]SDVYRWUHUHSRQVHHFULWHGDQVOHUHODLUHTXLVYRXVULVTXH]GHSHUGUHODFDXVHDLQVLTXH
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   YRWUHVDODLUHYRWUHDUJHQWHWYRVELHQVSHXYHQWHWUHVDLVLVSDUODVXLWHVDQVDXFXQSUHDYLV
   XOWHULHXUGXWULEXQDO,O\DG¶DXWUHVREOLJDWLRQVMXULGLTXHVHWYRXVSRXYH]UHTXHULUOHVVH
   XOWHULHXUGXWULEXQDO,O\DG¶DXWUHVREOLJDWLRQVMXULGLTXHVHWYRXVSRXYH]UHTXHULUOHVVHUYLFHV
   LPPHGLDWVG¶XQDYRFDW6LYRXVQHFRQQDLVVH]SDVG¶DYRFDWYRXVSRXUULH]WHOHSKRQHUDXQ
   VHUYLFHGHUHIHUHQFHG¶DYRFDWVRXDXQEXUHDXG¶DVVLVWDQFHMXULGLTXH ILJXUDQWDO¶DQQXDLUHGH
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   WHOHSKRQHV 
   6LYRXVFKRLVLVVH]GHGHSRVHUYRXVPHPHXQHUHSRQVHHFULWHLOYRXVIDXGUDHJDOHPHQWHQ
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   PHPHWHPSVTXHFHWWHIRUPDOLWHIDLUHSDUYHQLURXH[SHGLHUXQHFRSLHGHYRWUHUHSRQVHHFULWHDX
   ³3ODLQWLII3ODLQWLII¶V$WWRUQH\´ 3ODLJQDQWRXDVRQDYRFDW QRPPHFL
                                                                 QRPPHFLGHVVRXV
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   'XOFLHY/DERUDWRU\&RUSRUDWLRQRI$PHULFD
   &DVH1R&$;;;;0%

   7KLVQRWLFHLVSURYLGHGSXUVXDQWWR$GPLQLVWUDWLYH2UGHU1R 
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       ³,I\RXDUHDSHUVRQZLWKDGLVDELOLW\ZKRQHHGVDQ\DFFRPPRGDWLRQLQRUGHU
       WRSDUWLFLSDWHLQWKLVSURFHHGLQJ\RXDUHHQWLWOHGDWQRFRVWWR\RXWRWKH
       SURYLVLRQRIFHUWDLQDVVLVWDQFH3OHDVHFRQWDFW:LOOLDP+XWFKLQJV-U03$
       3+5WKH$PHULFDQVZLWK'LVDELOLWLHV$FW&RRUGLQDWRU3DOP%HDFK&RXQW\
       &RXUWKRXVH  1RUWK 'L[LH +LJKZD\ :HVW 3DOP %HDFK )ORULGD 
       WHOHSKRQHQXPEHU  DWOHDVWGD\VEHIRUH\RXUVFKHGXOHGFRXUW




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       DSSHDUDQFH RU LPPHGLDWHO\ XSRQ UHFHLYLQJ WKLV QRWLILFDWLRQ LI WKH WLPH
       EHIRUHWKHVFKHGXOHGDSSHDUDQFHLVOHVVWKDQGD\VLI\RXDUHKHDULQJRU
       YRLFHLPSDLUHGFDOO´




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       ³6L XVWHG HV XQD SHUVRQD PLQXVYiOLGD TXH QHFHVLWD DOJ~Q DFRPRGDPLHQWR
       SDUDSRGHUSDUWLFLSDUHQHVWHSURFHGLPLHQWRXVWHGWLHQHGHUHFKRVLQWHQHU



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       JDVWRVSURSLRVDTXHVHOHSURYHDFLHUWDD\XGD
         DVWRVSURSLRVDTXHVHOHSURYHDFLHUWDD\XGD   7HQJDODDPDELOLGDGGH
       SRQHUVHHQFRQWDFWRFRQ:LOOLDP+XWFKLQJV-U03$3+51'L[LH
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       +LJKZD\:HVW3DOP%HDFK)ORULGDWHOpIRQRQ~PHUR  
       SRU OR PHQRV  GtDV DQWHV GH OD FLWD ILMDGD SDUD VX FRPSDUHFHQFLD HQ ORV
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       WULEXQDOHVRLQPHGLDWDPHQWHGHVSXpVGHUHFLELUHVWDQRWLILFDFLyQVLHOWLHPSR
                                            RT

       DQWHVGHODFRPSDUHFHQFLDTXHVHKDSURJUDPDGRHVPHQRVGHGtDVVLXVWHG
       WLHQHGLVFDSDFLWDFLyQGHORtGRRGHODYR]OODPHDO´
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       ³6LRXVH\RQPRXQNLHQILPNLEH]ZHQDNRPRGDV\RQSRXZNDSDWLVLSHQDQ
       SZRVHGLVDRXNDOLI\HVDQRXSDJHQRNHQQODMDQSRXZSH\HJHQSZRYL]\RQ
       SRX
          X MZHQ NqN qG 7DQSUL NRQWDNWH :LOOLDP +XWFKLQJV -U 03$ 3+5 N
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       GRQDWqSZRJUDP/ZDSRXDPHULNHQNL(QILP\RQDQ7ULELQDO.RQWH3DOP
       %HDFKODNLQDQ1RUWK'L[LH+LJKZD\:HVW3DOP%HDFK)ORULGD
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       OqRXJHQSRXZSDUqWQDQWULELQDOODPZHQVNHMRXVLRXJHQSZREOqPSRX
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       ZWDQGHRXE\HQSDOHUHOH´
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    MB                                        JOSEPH ABRUZZO
                                                                                                   RECEIPT
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                             CLERK OF THE CIRCUIT COURT & COMPTROLLER                                 Printed On:
                                    PALM BEACH COUNTY, FLORIDA                                     08/30/2023 07:13
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                             Receipt Number: 5025615 - Date 08/30/2023 Time 7:12PM
    Received of:              Searcy Denney
                              6261 Windchime Place
                             Boynton Beach, FL 33472
    Cashier Name:     ADMIN                                                   Balance Owed:                      40.00
    Cashier Location: E-Filing                                                Total Amount Paid:                 40.00
    Receipt ID:       11413752                                                Remaining Balance:                  0.00
    Division:                AO: Circuit Civil Central - AO(Civil)
            Case# 50-2023-CA-011853-XXXX-MB - PLAINTIFF/PETITIONER: DULCIE, CHRISTIAN
                              Item                            Balance              Paid            Bal Remaining
    Fees                                                              40.00                40.00                   0.00
    Case Total                                                       40.00                40.00                   0.00
                                                      Payments
                      Type                               Ref#                                  Amount
    EFiling_CREDITCARD                    REDACTED
                                                                                                                 40.00
    Total Received                                                                                               40.00
    Total Paid                                                                                                   40.00

           How was your service today? Please visit www.mypalmbeachclerk.com/survey or send your
           feedback to clerkweb@mypalmbeachclerk.com.
           For office locations and information about Clerk & Comptroller services:
           Visit www.mypalmbeachclerk.com or call (561) 355-2996.
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          )ORULGD6WDWXWHVDQG&RPPRQ/DZRI)ORULGDZLWKGDPDJHVH[FHHGLQJ)LIW\7KRXVDQG'ROODUV
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          UHVLGHQWRI3DOP%HDFK&RXQW\)ORULGD

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          FRPSDQ\ZLWKLWVSULQFLSDOSODFHRIEXVLQHVVLQ%XUOLQJWRQ1RUWK&DUROLQD




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   'XOFLHY/DEFRUSHWDO
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   WKH VFRSH DQG FRXUVH RI WKHLU DJHQF\ DSSDUHQW DJHQF\ VHUYLWXGH DQGRU HPSOR\PHQW DW WKHLU
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Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 68 of 95


   'XOFLHY/DEFRUSHWDO
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   XQDEOHWRREWDLQDVXLWDEOHVSHFLPHQ´
Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 69 of 95


   'XOFLHY/DEFRUSHWDO
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Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 70 of 95


   'XOFLHY/DEFRUSHWDO
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   EH³EXPSHG´E\QHZSDWLHQWVDUULYLQJZLWKSUH
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Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 71 of 95


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   DQGPDNLQJXSQHDUO\RIWKHWRWDOFHOOSRSXODWLRQZLWKHPSKDVLVRQSRVLWLYH&'DQG&'




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   FRQFHDOHGIURPWKH3ODLQWLII&KULVWLDQ'XOFLHIRUPRUH\HDUV
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                  $V D GLUHFW UHVXOW RI '()(1'$17 /$%&253¶V -DQXDU\   GHWDLOHG

   SHUVXDVLYHODERUDWRU\UHSRUWRQVSHFLILFFDQFHUPDUNHUVIRXQGLQWKHEORRGSXUSRUWHGWREHWKDWRI
                                A




   &KULVWLDQ 'XOFLH KH ZDV GLDJQRVHG ZLWK DQ HPHUJLQJ &KURQLF /\PSKRF\WLF /HXNHPLD1RQ
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      JNLQ¶V/\PSKRPDLQDQGDGYLVHGWRFRQWLQXHRQFRORJLFDOFDUHDQGVXUYHLOODQFH
   +RGJNLQ¶V/\PSKRPDLQDQGDGYLVHGWRFRQWLQXHRQFRORJLFDOFDUHDQGVXUYHLOODQFH6XFK
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   RQFRORJLFDO FDUH DQG VXUYHLOODQFH LQFOXGHG LQYDVLYH ERQH PDUURZ WHVWLQJ DQG KLJK OHYHOV RI

   UDGLDWLRQLPDJLQJWHVWVLQFOXGLQJIXOOERG\&7VFDQV

                  (IIRUWVZHUHXQGHUWDNHQE\&KULVWLDQ'XOFLHE\SKRQHDQGLQZULWLQJEHJLQQLQJLQ

   )HEUXDU\DQG0DUFKRIWRREWDLQKLVFRPSOHWHILOHRIDOOORJVUHFRUGVDQGRWKHUSDWKRORJ\

   PDWHULDOV LQ WKH FXVWRG\ RI '()(1'$17 /$%&253 ZKLFK ZHUH GHQLHG E\ '()(1'$17
Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 72 of 95


   'XOFLHY/DEFRUSHWDO
   $PHQGHG&RPSODLQW
   3DJH


   /$%&253 GHVSLWH FOHDU DXWKRUL]DWLRQ 7KLV FOHDUO\ SXW '()(1'$17 /$%&253 RQ QRWLFH

   DERXW WKH WHVWLQJ DQG UHVXOWV RI 0U 'XOFLH¶V EORRG WHVWV WKDW FRXOG UHVXOW LQ IXWXUH FODLPV RU

   OLWLJDWLRQ'()(1'$17/$%&253DOVRKDGDGXW\WRSUHVHUYHVXFKHYLGHQFHSXUVXDQWWR)HGHUDO

   /DZXQGHU7LWOH&)53DUW




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                  '()(1'$17/$%&253ZDVDOVRUHTXHVWHGLQZULWLQJE\&KULVWLDQ'XOFLHDQG

   KLVUHSUHVHQWDWLYHVEHJLQQLQJLQWRSUHVHUYHDOORIKLVSDWKRORJ\UHFRUGVFKDLQRIFXVWRG\




                                                                             CO
   ORJVQRWHVVOLGHVDQGRWKHUWHVWLQJPDWHULDOVDVUHTXLUHGE\&/,$DQG&$3VWDQGDUGVZKHUH

   \HDUVUHWHQWLRQLVFLWHGDVWKHPLQLPXPSHULRGIRUSUHVHUYLQJWKHVOLGHV




                                                            D
                  :KHQ WKH UHTXHVWV ZHUH PDGH LQ  0 5DFKDHO 'LPRQW 6HQLRU &RUSRUDWH
                                                         IE
   &RXQVHO ZDV PDGH DZDUH RI VXFK UHTXHVWV DORQJ ZLWK 'HDQQD 3HDGHQ /DERUDWRU\ 6XSSRUW
                                                       IF
   6XSHUYLVRURI:RPHQ¶V+HDOWK*HQHWLFVDQG2QFRORJ\7KH\ZHUHUHVSRQVLEOHIRUWKHKDQGOLQJ
                 :RPHQ¶V+HDOWK*HQHWLFVDQG2QFRORJ\
                                            RT

   RIWKHUHTXHVWVDQGZHUHDFWLQJRQEHKDOIRI'HIHQGDQW/$%&253

                  6XEVHTXHQW UHSHDW WHVWLQJ ZDV GRQH WKDW SURYLGHG UHVXOWV LQFRQVLVWHQW ZLWK
                                  CE




   '()(1'$17 /$%&253¶V ILQGLQJ ZKLFK GUHZ LQWR TXHVWLRQ WKH YDOLGLW\ RI VXFK WHVWLQJ

   KRZHYHU EHFDXVH '()(1'$17 /$%&253 QHYHU SURYLGHG DQ\ RI WKH UHTXHVW PDWHULDOV DQG
                                A




   EORRGVSHFLPHQV&KULVWLDQ'XOFLHFRXOGQRWGHWHUPLQHZKDWHUURULIDQ\RFFXUUHGZKHWKHU
   EORRGVSHFLPHQV&KULVWLDQ'XOFLHFRXOGQRWGHWHUPLQHZKDWHUURULIDQ\RFFXUUHGZKHWKHULWZDV
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   DPLVLQWHUSUHWDWLRQE\WKHKHPDWRSDWKRORJLVWDW/$%&253RUDQHUURUE\WKHRQFRORJLVW+RZHYHU
              O
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   ZHNQRZDIWHUWKHIDFWWKDWEDVHGRQUHSUHVHQWDWLRQVE\/$%&253WKURXJK05DFKDHO'LPRQW

   DQG'HDQQD3HDGHQWKDWWKHVSHFLPHQZDVQRWPLVLQWHUSUHWHGE\WKHLUKHPDWRSDWKRORJLVWEXWUDWKHU

   ZDVDFRPSOHWHO\GLIIHUHQWEORRGVDPSOH7KHFRQFHDOPHQWRIVXFKLQIRUPDWLRQDQGGDWDFDXVHG

   &KULVWLDQ'XOFLHWRFRQWLQXHZLWKLQYDVLYHRQFRORJLFDOPDQDJHPHQWDQGVXSHUYLVLRQIRUWKHQH[W

   \HDUVZKLFKOHGWRHPRWLRQDOGLVWUHVVDQGRQJRLQJDQ[LHW\
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   'XOFLHY/DEFRUSHWDO
   $PHQGHG&RPSODLQW
   3DJH


                  $VDUHVXOWRIWKHFRQFHDOPHQWRIWKHWHVWLQJGDWD&KULVWLDQ'XOFLHUHPDLQHGXQGHU

   RQFRORJLFDOFDUHDQGVXUYHLOODQFHIRUWKHWHUPLQDOFDQFHUSURFHVV05DFKDHO'LPRQWDQG'HDQQD

   3HDGHQFRQVLVWHQWO\SUHYHQWHGWKHGLVFORVXUHRILPSRUWDQWGDWDIRU\HDUVEHWZHHQDQG

   LQFOXGLQJWKHEORRGVSHFLPHQVUHTXLVLWLRQIRUPVDQGXQGHUO\LQJGDWD




                                                                            PY
                  ,WZDVQ¶WXQWLOUHSHDWIORZF\WRPHWU\WHVWLQJIURPDQRXWVLGHSURYLGHULQODWH
                                                                   IURPDQRXWVLGHSURYLGHULQODWH

   WKDWFDPHEDFNQHJDWLYHIRUFDQFHUFHOOVWKDW&KULVWLDQ'XOFLHIHOWFRPSHOOHGWRSURFXUHRXWVLGH




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   KHPDWRSDWKRORJ\H[SHUWLVHWRLQYHVWLJDWHWKHYDOLGLW\RI'()(1'$17/$%&253¶VFDQFHU

   WHVWDQGUHVXOWV




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                  $ WKRURXJK LQYHVWLJDWLRQ DQG UHYLHZ RI WKLV PDWWHU FRQGXFWHG LQ  E\ SUH
                                                       IE
   HPLQHQW'XNHKHPDWRORJLVW.HQ<RXQJ0'ZLWKRXWWKHVXSSRUWRI'()(1'$17/$%&253
                                                     IF
   ZKRKDVFRQWLQXHGWRFRQFHDOWKHLUDFWLRQVDQGSDWKRORJ\HYLGHQFHKDVSURYHQWKHUHDUH12FDQFHU
   ZKRKDVFRQWLQXHGWRFRQFHDOWKHLUDFWLRQVDQGSDWKRORJ\HYLGHQFHKDVSURYHQWKHUHDUH12FDQFH
                                            RT

   PDUNHUVLQ&KULVWLDQ'XOFLH¶VEORRGDIWHUUHSHDWHGWHVWLQJWKURXJKODWHDQGQRFOLQLFDOVLJQV

   RIWKHHPHUJLQJFDQFHUSURFHVVGHILQHGE\'()(1'$17/$%&253LQ WKHLUWHVWLQJUHSRUWRI
                                  CE




   -DQXDU\

                  2Q0DUFK'HDQQD3HDGHQ/DERUDWRU\6XSSRUW6XSHUYLVRUDW/$%&253
                                A




   LQIRUPHG&KULVWLDQ'XOFLHIRUWKHILUVWWLPH\HDUVDIWHUWKHWHVWLQJWKDW³>WKH\@QRORQJHUKDYH
               T




   WKHEORRGVSHFLPHQWKDWZDVXWLOL]HGIRUWKHIORZF\WRPHWU\WHVWLQJ7KHVSHFLPHQZDVGLVFDUGHG
              O
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   DIWHUVHYHQGD\VLQDFFRUGDQFHZLWKRXUVSHFLPHQUHWHQWLRQSROLF\:HQHYHUUHFHLYHGDQ\WLVVXH

   LQFRQQHFWLRQZLWKWKLVWHVWLQJDQGZHGRQRWKDYHDQ\RWKHUWLVVXHRUVOLGHVIRU0U'XOFLHLQ

   FRQQHFWLRQZLWKDQ\RWKHUWHVWLQJ´
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   'XOFLHY/DEFRUSHWDO
   $PHQGHG&RPSODLQW
   3DJH


                  7KLV DFW RI GHVWUXFWLRQ RI HYLGHQFH VSHFLILFDOO\ WKH EORRG VSHFLPHQV VOLGHV DQG

   FKDLQRIFXVWRG\UHFRUGVE\/$%&253DQGLWVHPSOR\HHVLVLQYLRODWLRQVRI7LWOH&)53DUW

   DQGYLRODWHV&/,$DQG&$3VWDQGDUGV

                  '()(1'$17 /$%&253 VSHFLILFDOO\ LGHQWLILHG WKH EORRG SURGXFW ODEHOHG DV




                                                                              PY
   &KULVWLDQ 'XOFLH¶V ZLWK VSHFLPHQ QXPEHU  ZKLOH KDYLQJ D VHSDUDWH VXUJLFDO

   SDWKRORJ\ QXPEHU LGHQWLILHG DV 6- ZKLFK LOOXVWUDWHV WKDW WKH\ KDG VOLGHV DQG VXUJLFDO




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   SDWKRORJ\VSHFLPHQVWKDWUHTXLUHGUHWHQWLRQWRZKLFK/$%&253FODLPVQRORQJHUH[LVWVRUKDV

   EHHQGHVWUR\HG




                                                           D
                  '()(1'$17 /$%&253 PDGH D FRQFHUWHG HIIRUW WR FRQFHDO DQG GHVWUR\ WKHLU
                                                        IE
   ODERUDWRU\GDWDDQGEORRGVSHFLPHQVZKLOHZLWKKROGLQJFULWLFDOGDWDRYHUDSHULRGRI\HDUVWKDW
                                                      IF
   PDGH GHWHUPLQLQJ ZKDW DFWXDO HUURUV RFFXUUHG WR EH LPSRVVLEOH '()(1'$17 /$%&253¶V
                                            RT

   DFWLRQVSUHFOXGHG3ODLQWLIIIURPKDYLQJDQLQGHSHQGHQWDQDO\VLVRIWKHEORRGVSHFLPHQSURGXFW

   WKH\WHVWHGDQGUHSUHVHQWHGZKDWZDVKLVEORRGLQILQDOUHSRUWV<HW'()(1'$17/$%&253
                                  CE




   QRZFODLPVWKHSDWKRORJ\PDWHULDOVUHODWHGWR&KULVWLDQ'XOFLHZHUHGLVFDUGHGDQGRUDUHQRWLQ

   WKHLUSRVVHVVLRQIXUWKHULQJ'()(1'$17/$%&253¶VIUDXGDQGFRQFHDOPHQWLQWKLVPDWWHU
                                A




                  7KHLQYHVWLJDWLRQDQGFRQFOXVLRQVRI.HQ<RXQJ0'LQZDVWKHILUVWWLPH
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   DQ\LQIRUPDWLRQZDVNQRZQRUFRXOGKDYHEHHQNQRZQWKDWWKHDEQRUPDOIORZF\WRPHWU\ILQGLQJV
              O
        N




   UHSRUWHGE\'()(1'$17/$%&253RQ-DQXDU\ZHUHQRWGHULYHGIURPWKHEORRGRI

   &KULVWLDQ'XOFLHEXWUDWKHUZHUHDFRPSOHWHO\GLIIHUHQWEORRGSURGXFWRUWHVWRIDQRWKHUSDWLHQW,W

   LVVFLHQWLILFDOO\LPSRVVLEOHIRUWKRVHDEQRUPDOFDQFHUPDUNHUVWRGLVDSSHDUDQGIRUWKHSDWLHQW¶V

   PDUURZWRFHDVHSURGXFWLRQRIWKHDEHUUDQWFORQLQJRIWKHVHFHOOVDQGLQIDFWWKHGLVHDVHSURFHVV

   RQO\ZRUVHQVRYHUWLPH
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   'XOFLHY/DEFRUSHWDO
   $PHQGHG&RPSODLQW
   3DJH


                  &KULVWLDQ'XOFLHOHDUQHGLQWKURXJKWKHGLOLJHQWZRUNRI.HQ<RXQJ0'

   WKDWQRWRQO\GLGKHQRWHYHUKDYHFDQFHUEXWWKDWWKHEORRGKHJDYHRQ-DQXDU\DWWKH

   '()(1'$17/$%&253RQ1RUWKODNH%OYGLQ3DOP%HDFK*DUGHQV)ORULGDZDVQRWWKHVDPH

   EORRGWKDWHQGHGXSDWWKH1RUWK&DUROLQDIDFLOLW\DQGZKLFKZDVIUDXGXOHQWO\DVVLJQHGWRKLVQDPH




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   DQGJLYHQDGLDJQRVLVRIFDQFHU

                  8QWLO 'U <RXQJ¶V LQYHVWLJDWLRQ DQG ILQGLQJV &KULVWLDQ 'XOFLH KDG QR ZD\ RI




                                                                          CO
   NQRZLQJ RI WKH  ODERUDWRU\ HUURU RI DQRWKHU EORRG SURGXFW DQGRU RWKHU¶V WHVW
                                                                                            WHVW E\ WKH

   '()(1'$17/$%&253ZKLFKFDXVHGKLPWREHIDOVHO\GLDJQRVHGZLWKFDQFHU




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                  '()(1'$17/$%&253NQHZRUVKRXOGKDYHNQRZQRIWKHLUHUURUDWWKHWLPHRI
                                                       IE
   WHVWLQJLQ-DQXDU\DQGFHUWDLQO\E\WKHWLPHPXOWLSOHLQTXLULHVZHUHEHLQJPDGHRIWKHPLQ
                                                     IF
   WKHPRQWKVWRIROORZZKHUHWKH\GHQLHGDFFHVVWR&KULVWLDQ'XOFLH¶VIXOOILOHDQGHQJDJHGLQWKH
   WKHPRQWKVWRIROORZZKHUHWKH\GHQLHGDFFHVVWR&KULVWLDQ'XOFLH¶VIXOOILOHDQGHQJ
                                           RT

   GHVWUXFWLRQRIHYLGHQFH

                  '()(1'$17/$%&253HLWKHULQWHQWLRQDOO\IDLOHGWRLQYHVWLJDWHWKHLUODERUDWRU\
                                  CE




   EORRG VDPSOLQJ HUURU RU WKH\ FKRVH WR LQWHUQDOL]H WKHLU ILQGLQJV DQG FRQFHDO WKH HUURU IURP

   &KULVWLDQ'XOFLHKLVWUHDWLQJSK\VLFLDQVDQGWKHRWKHUYLFWLPRIWKHODERUDWRU\HUURUFRQVWLWXWLQJ
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   DQRYHUWDFWRIIUDXGDQGFRQFHDOPHQW
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                  3ODLQWLII &+5,67,$1 '8/&,( LQGLYLGXDOO\ UHDOOHJHV DQG LQFRUSRUDWHV E\

   UHIHUHQFHWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKVWKURXJKDQGIXUWKHUDOOHJHV
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   'XOFLHY/DEFRUSHWDO
   $PHQGHG&RPSODLQW
   3DJH


                  'HIHQGDQW /$%&253 RZHG D GXW\ WR &+5,67,$1 '8/&,( WR ODERUDWRU\

   WHVWLQJDQGSURGXFWVLQDFFRUGDQFHZLWKSUHYDLOLQJODERUDWRU\VWDQGDUGVDQGLQDFFRUGDQFHZLWK

   6WDWHDQG)HGHUDOODZLQOLJKWRIDOOUHOHYDQWFLUFXPVWDQFHV

                  8QGHU&)5'HIHQGDQW/$%&253KDGDOHJDOREOLJDWLRQWRUHWDLQ




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   WKHIROORZLQJ

                      D 7KHODERUDWRU\PXVWUHWDLQLWVUHFRUGVDQGDVDSSOLFDEOHVOLGHVEORFNV




                                                                              CO
                     DQGWLVVXHVDVIROORZV

                       7HVWUHTXLVLWLRQVDQGDXWKRUL]DWLRQV5HWDLQUHFRUGVRIWHVWUHTXLVLWLRQV
                     DQG WHVW DXWKRUL]DWLRQV LQFOXGLQJ WKH SDWLHQW V FKDUW RU PHGLFDO UHFRUG LI




                                                            D
                     XVHGDVWKHWHVWUHTXLVLWLRQRUDXWKRUL]DWLRQIRUDWOHDVW\HDUV

                                                         IE
                       7HVWSURFHGXUHV5HWDLQDFRS\RIHDFKWHVWSURFHGXUHIRUDWOHDVW\HDUV
                     DIWHUDSURFHGXUHKDVEHHQGLVFRQWLQXHG(DFKWHVWSURFHGXUHPXVWLQFOXGH
                     WKHGDWHVRILQLWLDOXVHDQGGLVFRQWLQXDQFH
                                                       IF
                       $QDO\WLFV\VWHPVUHFRUGV5HWDLQTXDOLW\FRQWURODQGSDWLHQWWHVWUHFRUGV
                                             RT

                      LQFOXGLQJLQVWUXPHQWSULQWRXWVLIDSSOLFDEOH DQGUHFRUGVGRFXPHQWLQJDOO
                     DQDO\WLFV\VWHPVDFWLYLWLHVVSHFLILHGLQWKURXJKIRUDW
                     OHDVW\HDUV,QDGGLWLRQUHWDLQWKHIROORZLQJ
                                   CE




                      L  5HFRUGV RI WHVW V\VWHP SHUIRUPDQFH VSHFLILFDWLRQV WKDW WKH ODERUDWRU\
                     HVWDEOLVKHVRUYHULILHVXQGHUIRUWKHSHULRGRIWLPHWKHODERUDWRU\
                     XVHVWKHWHVWV\VWHPEXWQROHVVWKDQ\HDUV
                                A




                      LL  ,PPXQRKHPDWRORJ\ UHFRUGV EORRG DQG EORRG SURGXFW UHFRUGV DQG
               T




                     WUDQVIXVLRQ UHFRUGV DV VSHFLILHG LQ  &)5  E  LL  E  LY 
                      E  Y DQG G 
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                       3URILFLHQF\WHVWLQJUHFRUGV5HWDLQDOOSURILFLHQF\WHVWLQJUHFRUGVIRUDW
                     OHDVW\HDUV

                        4XDOLW\ V\VWHP DVVHVVPHQW UHFRUGV  5HWDLQ DOO ODERUDWRU\ TXDOLW\
                     V\VWHPVDVVHVVPHQWUHFRUGVIRUDWOHDVW\HDUV

                       7HVWUHSRUWV5HWDLQRUEHDEOHWRUHWULHYHDFRS\RIWKHRULJLQDOUHSRUW
                      LQFOXGLQJILQDOSUHOLPLQDU\DQGFRUUHFWHGUHSRUWV DWOHDVW\HDUVDIWHUWKH
                     GDWHRIUHSRUWLQJ,QDGGLWLRQUHWDLQWKHIROORZLQJ
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   'XOFLHY/DEFRUSHWDO
   $PHQGHG&RPSODLQW
   3DJH


                      L ,PPXQRKHPDWRORJ\UHSRUWVDVVSHFLILHGLQ&)5 G 

                      LL 3DWKRORJ\WHVWUHSRUWVIRUDWOHDVW\HDUVDIWHUWKHGDWHRIUHSRUWLQJ

                       6OLGHEORFNDQGWLVVXHUHWHQWLRQ²

                      L 6OLGHV




                                                                               PY
                      $ 5HWDLQF\WRORJ\VOLGHSUHSDUDWLRQVIRUDWOHDVW\HDUVIURPWKHGDWHRI
                     H[DPLQDWLRQ VHH I IRUSURILFLHQF\WHVWLQJH[FHSWLRQ 




                                                                             CO
                      %  5HWDLQ KLVWRSDWKRORJ\ VOLGHV IRU DW OHDVW  \HDUV IURP WKH GDWH RI
                     H[DPLQDWLRQ

                      LL %ORFNV5HWDLQSDWKRORJ\VSHFLPHQEORFNVIRUDWOHDVW\HDUVIURPWKH




                                                            D
                     GDWHRIH[DPLQDWLRQ

                                                         IE
                      LLL 7LVVXH3UHVHUYHUHPQDQWVRIWLVVXHIRUSDWKRORJ\H[DPLQDWLRQXQWLOD
                     GLDJQRVLVLVPDGHRQWKHVSHFLPHQ
                                                       IF
                      E ,IWKHODERUDWRU\FHDVHVRSHUDWLRQWKHODERUDWRU\PXVWPDNHSURYLVLRQV
                     WRHQVXUHWKDWDOOUHFRUGVDQGDVDSSOLFDEOHVOLGHVEORFNVDQGWLVVXHDUH
                                             RT

                     UHWDLQHGDQGDYDLODEOHIRUWKHWLPHIUDPHVVSHFLILHGLQWKLVVHFWLRQ

                  '()(1'$17/$%&253FRQFHDOHGRUIDLOHGWRGLVFORVHPDWHULDOIDFWVLQ
                                     CE




   LQFOXGLQJWKHKLVWRSDWKRORJ\VOLGHVWHVWLQJGDWDIURPWKHIORZF\WRPHWU\UHTXLVLWLRQIRUPVDQG

   XQGHUO\LQJSHUIRUPDQFHGDWD
                                A




                  '()(1'$17 /$%&253 NQHZ RU VKRXOG KDYH NQRZQ WKDW WKH PDWHULDO IDFW
                                                                                             IDFWV
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   VKRXOGEHGLVFORVHGWR&+5,67,$1'8/&,(LQRUGHUWRGHWHUPLQHZKDWLIDQ\HUURUVRUSUREOHPV
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        N




   RFFXUUHGZLWKWKHWHVWLQJDQGWHVWUHVXOWV

                  '()(1'$17 /$%&253 NQHZ LWV FRQFHDOPHQW RI RU IDLOXUH WR GLVFORVH WKH

   PDWHULDOIDFWLHWKDWEORRGWHVWHGDQGRUUHVXOWLQJODEUHVXOWZDVQRWKLVZRXOGLQGXFHWKH3ODLQWLII

   WRFRQWLQXHZLWKRQFRORJ\WHVWLQJDQGZRXOGEHXQDEOHWRLQYHVWLJDWHWKHGLVFUHSDQF\LQWKHWHVWLQJ

   GDWDLQGLFDWLQJDWHUPLQDOFDQFHUGLDJQRVLV
Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 78 of 95


   'XOFLHY/DEFRUSHWDO
   $PHQGHG&RPSODLQW
   3DJH


                  '()(1'$17/$%&253KDGDGXW\WRGLVFORVHWKDWLQIRUPDWLRQRQFHUHTXHVWHG

   E\WKH3ODLQWLIILQDFFRUGDQFHZLWK6WDWHDQG)HGHUDOODZ

                  7KH 3ODLQWLII GHWULPHQWDOO\ UHOLHG RQ WKH FRQFHDOHG LQIRUPDWLRQ LQ WKDW LW KDG QR

   UHDVRQDEOHZD\RINQRZLQJWKDWWKHIORZF\WRPHWU\ODEWHVWZDVGHIHFWLYHWKDWWKHEORRGWHVWLQJ




                                                                                PY
   ZDV QRW KLV DQG WKDW WKH ODE UHSRUW SURGXFHG WR KLP ZDV IUDXGXOHQWO\ LGHQWLILHG DV KLV UHVXOWV

   WKHUHE\UHTXLULQJKLPWRXQGHUJRIXUWKHUWHVWLQJDQGWKHLQDELOLW\WRGHWHUPLQHZKDWRFFXUUHGZLWK




                                                                              CO
   KLVEORRGWHVWDQGUHVXOWV

                  $VDGLUHFWDQGSUR[LPDWHUHVXOWRIWKHDFWVDQGRPLVVLRQVRI'HIHQGDQW/$%&253
                     $VDGLUHFWDQGSUR[LPDWHUHVXOWRIWKHDFWVDQGRPLVVLRQVRI'HIHQGDQW/$%&253




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   3ODLQWLII &+5,67,$1 '8/&,( VXIIHUHG SHUPDQHQW ERGLO\ LQMXULHV UHVXOWLQJ LQ SDLQ DQG
                                                         IE
   VXIIHULQJ GLVDELOLW\SK\VLFDO LPSDLUPHQW SDVW DQG IXWXUH PHGLFDO H[SHQVHV H[SHQVH RI
                                                       IF
   KRVSLWDOL]DWLRQLQFRQYHQLHQFHGLVDELOLW\PHQWDODQJXLVKORVVRIHQMR\PHQWRIOLIHORVVYDOXHRI
                                             RT

   JUDWXLWRXVVHUYLFHVORVVRIHDUQLQJVORVVRIDELOLW\WRHDUQPRQH\DQGDJJUDYDWLRQRIDSUHYLRXVO\

   H[LVWLQJFRQGLWLRQ7KHORVVHVDUHSHUPDQHQWDQGFRQWLQXLQJDQG3ODLQWLIIZLOOFRQWLQXHWRVXIIHU
                                    CE




   WKHVHORVVHVLQWKHIXWXUH

            :+(5()25( WKH 3ODLQWLII &+5,67,$1 '8/&,( LQGLYLGXDOO\ GHPDQG MXGJPHQW
                                A




   DJDLQVW'HIHQGDQW/$%&253IRUWKHVHGDPDJHVDQGDOORWKHUGDPDJHVDOORZDEOHE\ODZDQG
               T




   GHPDQGVFRVWVSRVWMXGJPHQWLQWHUHVWDQGDWULDOE\MXU\
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                                  &2817,,
            %5($&+2)(;35(66:$55$17<%<'()(1'$17/$%25$725<
                          &25325$7,212)$0(5,&$

                  3ODLQWLII &+5,67,$1 '8/&,( LQGLYLGXDOO\ UHDOOHJHV DQG LQFRUSRUDWHV E\

   UHIHUHQFHWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKVWKURXJKDQGIXUWKHUDOOHJHV
Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 79 of 95


   'XOFLHY/DEFRUSHWDO
   $PHQGHG&RPSODLQW
   3DJH


                  '()(1'$17/$%&253XWLOL]HVD*5((1)ORZ&\WR0ROHFXODUFROOHFWLRQNLWV

   ZKHUHLQLWPDUNHWVDQGH[SOLFLWO\VWDWHVWKDWWKHWHVWLQJDQGEORRGSURGXFWWKDWLVEHLQJLQWHUSUHWHG

   LV WKH FRQVXPHU¶V EORRG DQG WKDW WKH WHVWLQJ SURGXFW SURGXFHV UHVXOWV EDVHG RQ WKH FRQVXPHU¶V

   EORRG




                                                                                PY
                  '()(1'$17/$%&253SURSULHWDU\WHVWLQJPDWHULDOVDQGUHSRUWQHYHULQGLFDWHG

   WKDW WKH WHVWLQJ SURGXFW RU EORRG WHVWHG ZDV DQRWKHU FRQVXPHU¶V EORRG ,Q IDFW LW H[SUHVVO\




                                                                              CO
   UHSUHVHQWHGWKDWWKHWHVWSURGXFWZDVWKDWRIWKHFRQVXPHU&KULVWLDQ'XOFLH

                  '()(1'$17/$%&253H[SUHVVO\ZDUUDQWHGWKDWWKHEORRGSURGXFWDQGWHVWLQJ




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   SURGXFWZDVWKDWRIFRQVXPHU&KULVWLDQ'XOFLH'()(1'$17/$%&253H[SUHVVO\ZDUUDQWHG
                                                         IE
   WKDWLWVWHVWUHVXOWVZHUHEDVHGRQWKHEORRGRI&KULVWLDQ'XOFLH
                                                       IF
                  '()(1'$17 /$%&253 EUHDFKHG LWV H[SUHVV ZDUUDQW\ RI PHUFKDQWDELOLW\ E\
                                             RT

              VHOOLQJ DODEWHVWLQJSURGXFW DQGUHVXOWV WKDWGLGQRW FRQIRUP WRWKHSURPLVHVDQGRU
   LQWHU DOLDVHOOLQJ

   DIILUPDWLRQV RI IDFW WKDW WKH WHVWLQJ ODEHO LQGLFDWHG 6SHFLILFDOO\ '()(1'$17 /$%&253
                                  CE




   ODEHOHGLWVWHVWLQJSURGXFWWREHWKDWRI&KULVWLDQ'XOFLHZKHQLQIDFWVXFKWHVWLQJZDVQRWEXW

   UDWKHUWKHWHVWSURGXFWRIDQRWKHUFRQVXPHU
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                  $V D GLUHFW DQG SUR[LPDWH UHVXOW RI '()(1'$17 /$%&253
                                                                           /$%&253¶6 EUHDFK RI WKH
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   H[SUHVVZDUUDQW\RIPHUFKDQWDELOLW\3ODLQWLII&+5,67,$1'8/&,(VXIIHUHGSHUPDQHQWERGLO\
              O
        N




   LQMXULHV UHVXOWLQJ LQ SDLQDQGVXIIHULQJGLVDELOLW\SK\VLFDO LPSDLUPHQW SDVW DQGIXWXUHPHGLFDO

   H[SHQVHVH[SHQVHRIKRVSLWDOL]DWLRQLQFRQYHQLHQFHGLVDELOLW\PHQWDODQJXLVKORVVRIHQMR\PHQW

   RI OLIH ORVV YDOXH RI JUDWXLWRXV VHUYLFHV ORVV RI HDUQLQJV ORVV RI DELOLW\ WR HDUQ PRQH\ DQG

   DJJUDYDWLRQ RI D SUHYLRXVO\ H[LVWLQJ FRQGLWLRQ  7KH ORVVHV DUH SHUPDQHQW DQG FRQWLQXLQJ DQG

   3ODLQWLIIZLOOFRQWLQXHWRVXIIHUWKHVHORVVHVLQWKHIXWXUH
Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 80 of 95


   'XOFLHY/DEFRUSHWDO
   $PHQGHG&RPSODLQW
   3DJH


            :+(5()25( WKH 3ODLQWLII &+5,67,$1 '8/&,( LQGLYLGXDOO\ GHPDQG MXGJPHQW

   DJDLQVW'HIHQGDQW/$%&253IRUWKHVHGDPDJHVDQGDOORWKHUGDPDJHVDOORZDEOHE\ODZDQG

   GHPDQGVFRVWVSRVWMXGJPHQWLQWHUHVWDQGDWULDOE\MXU\

                              &2817,,,
     %5($&+2),03/,(':$55$17<2)0(5&+$17$%,/,7<%<'()(1'$17




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                 /$%25$725<&25325$7,212)$0(5,&$

                  3ODLQWLII
                      ODLQWLII &+5,67,$1 '8/&,( LQGLYLGXDOO\ UHDOOHJHV DQG LQFRUSRUDWHV E\




                                                                           CO
   UHIHUHQFHWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKVWKURXJKDQGIXUWKHUDOOHJHV

                  '()(1'$17/$%&253XWLOL]HVD*5((1)ORZ&\WR0ROHFXODUFROOHFWLRQNLW




                                                          D
   ZKHUHLQLWPDUNHWVDQGH[SOLFLWO\VWDWHVWKDWWKHWHVWLQJDQGEORRGSURGXFWWKDWLVEHLQJLQWHUSUHWHG
                                                       IE
   LV WKH FRQVXPHU¶V EORRG DQG WKDW WKH WHVWLQJ SURGXFW SURGXFHV UHVXOWV EDVHG RQ WKH FRQVXPHU¶V
                                                     IF
   EORRG
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                  :KHQFRQVXPHUVFRPHWR/$%&253WHVWLQJVLWHVDQGSD\WRKDYHDFHUWDLQWHVW

   SHUIRUPHGWKHUHH[LVWVDQLPSOLHGZDUUDQW\RIPHUFKDQWDELOLW\WKDWWKHWHVWSURGXFWDQGUHVXOWLV
                                  CE




   WKDWRIWKHFRQVXPHU

                  /$%&253NQHZWKHSDUWLFXODUSXUSRVHIRUZKLFKWKHRQFRORJLFKHPDWRSDWKRORJ\
                                A




   WHVWLQJZDVEHLQJVROG± LHWRGHWHUPLQHLIFDQFHURXVFHOOVDUHLGHQWLILHGLQDFRQVXPHU¶VEORRG
   WHVWLQJZDVEHLQJVROG±
               T




                  ,W LV UHDVRQDEO\ IRUHVHHDEOH WR /$%&253 WKDW WKH SURGXFW LH WKH FRS\ULJKWHG
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   /$%&253 WHVW WR ZKLFK /$%&253 35(3$5(6 ZKROH EORRGDQGSHULSKHUDO EORRG ILOPV IRU

   WHVWLQJZRXOGEHXVHGE\FRQVXPHUVOLNH&KULVWLDQ'XOFLHWRGHWHUPLQHLIWKH\KDYHKHPDWRORJLF

   FDQFHU

                  '()(1'$17/$%&253NQHZWKDWWKHLUFRQVXPHUVLQFOXGLQJ&KULVWLDQ'XOFLH

   UHOLHGXSRQ/$%&253WRHQVXUHWKDWWKHWHVWLQJSURGXFWDQGEORRGILOPVDUHWKDWRIWKHFRQVXPHU
Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 81 of 95


   'XOFLHY/DEFRUSHWDO
   $PHQGHG&RPSODLQW
   3DJH


                  '()(1'$17 /$%&253 EUHDFKHG LWV LPSOLHG ZDUUDQW\ RI PHUFKDQWDELOLW\

   EHFDXVHLQWHUDOLDWKHWHVWSURGXFW EORRGILOPVDQGEORRGVPHDUV DQGWHVWUHVXOWVPDUNHWHGDQG

   VROGWRWKHFRQVXPHU&KULVWLDQ'XOFLHZHUHQRWWKDWRIWKHFRQVXPHU

                  WHVWLQJPDWHULDOVDQGUHSRUWQHYHULQGLFDWHGWKDWWKHWHVWLQJSURGXFWRUEORRGWHVWHG




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   ZDVDQRWKHUFRQVXPHU¶VEORRG,QIDFWLWH[SUHVVO\UHSUHVHQWHGWKDWWKHWHVWSURGXFWZDVWKDWRIWKH

   FRQVXPHU&KULVWLDQ'XOFLH




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                  '()(1'$17/$%&253H[SUHVVO\ZDUUDQWHGWKDWWKHEORRGSURGXFWDQGWHVWLQJ

   SURGXFWZDVWKDWRIFRQVXPHU&KULVWLDQ'XOFLH'()(1'$17/$%&253H[SUHVVO\ZDUUDQWHG




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   WKDWLWVWHVWUHVXOWVZHUHEDVHGRQWKHEORRGRI&KULVWLDQ'XOFLH

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                     '()(1'$17 /$%&253 EUHDFKHG LWV H[SUHVV ZDUUDQW\ RI PHUFKDQWDELOLW\ E\
                                                       IF
              VHOOLQJ DODEWHVWLQJSURGXFW DQGUHVXOWV WKDWGLGQRW FRQIRUP WRWKHSURPLVHVDQGRU
   LQWHU DOLDVHOOLQJ
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   DIILUPDWLRQV RI IDFW WKDW WKH WHVWLQJ ODEHO LQGLFDWHG 6SHFLILFDOO\ '()(1'$17 /$%&253

   ODEHOHGLWVWHVWLQJSURGXFWWREHWKDWRI&KULVWLDQ'XOFLHZKHQLQIDFWVXFKWHVWLQJZDVQRWEXW
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   UDWKHUWKHWHVWSURGXFWRIDQRWKHUFRQVXPHU

                  $V D GLUHFW DQG SUR[LPDWH UHVXOW RI '()(1'$17 /$%&253¶6 EUHDFK RI WKH
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   H[SUHVVZDUUDQW\RIPHUFKDQWDELOLW\3ODLQWLII&+5,67,$1'8/&,(VXIIHUHGSHUPDQHQWERGLO\
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   LQMXULHV UHVXOWLQJ LQ SDLQDQGVXIIHULQJGLVDELOLW\SK\VLFDO LPSDLUPHQW SDVW DQGIXWXUHPHGLFDO
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   H[SHQVHVH[SHQVHRIKRVSLWDOL]DWLRQLQFRQYHQLHQFHGLVDELOLW\PHQWDODQJXLVKORVVRIHQMR\PHQW

   RI OLIH ORVV YDOXH RI JUDWXLWRXV VHUYLFHV ORVV RI HDUQLQJV ORVV RI DELOLW\ WR HDUQ PRQH\ DQG

   DJJUDYDWLRQ RI D SUHYLRXVO\ H[LVWLQJ FRQGLWLRQ  7KH ORVVHV DUH SHUPDQHQW DQG FRQWLQXLQJ DQG

   3ODLQWLIIZLOOFRQWLQXHWRVXIIHUWKHVHORVVHVLQWKHIXWXUH
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   'XOFLHY/DEFRUSHWDO
   $PHQGHG&RPSODLQW
   3DJH


            :+(5()25( WKH 3ODLQWLII &+5,67,$1 '8/&,( LQGLYLGXDOO\ GHPDQG MXGJPHQW

   DJDLQVW'HIHQGDQW/$%&253IRUWKHVHGDPDJHVDQGDOORWKHUGDPDJHVDOORZDEOHE\ODZDQG

   GHPDQGVFRVWVSRVWMXGJPHQWLQWHUHVWDQGDWULDOE\MXU\

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                  3ODLQWLII
                      ODLQWLII &+5,67,$1 '8/&,( LQGLYLGXDOO\ UHDOOHJHV DQG LQFRUSRUDWHV E\




                                                                         CO
   UHIHUHQFHWKHDOOHJDWLRQVFRQWDLQHGLQ3DUDJUDSKVWKURXJKDQGIXUWKHUDOOHJHV

                  'HIHQGDQW/$%&253 LVDQLQGXVWU\OHDGHULQJHQHEDVHGDQGHVRWHULFWHVWLQJDQG




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   SURYLGHV
          V D UDQJH RI IUHTXHQWO\ UHTXHVWHG DQG VSHFLDOW\ WHVWLQJ VHUYLFHV LQFOXGLQJ DQDWRPLF

   SDWKRORJ\RQFRORJ\WHVWLQJ
                                                      IE
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                  'HIHQGDQW /$%&253 PDLQWDLQV SURSULHWDU\ 4XDOLW\ 0DQDJHPHQW 6\VWHPV WR
                                          RT

   FRQVLVWHQWO\PHHWERWKUHJXODWRU\DQGFOLHQWUHTXLUHPHQWVDQGDFWLYHO\SURPRWHDFXOWXUHRITXDOLW\
    RQVLVWHQWO\PHHWERWKUHJXODWRU\DQGFOLHQWUHTXLUHPHQWVDQGDFWLYHO\SURPRWHDFXOWXUHRITXDOLW\

                  'HIHQGDQW
                       IHQGDQW /$%&253
                                /$%&253 LV UHVSRQVLEOH IRU PDLQWDLQLQJ FRPSOHWH FRQVLVWHQW DQG
                                 CE




   DFFXUDWH
    FFXUDWH GDWD IURP FUHDWLRQ WKURXJK DUFKLYDO DQG GHVWUXFWLRQ WKURXJK WKHLU SURSULHWDU\ 4XDOLW\

   0DQDJHPHQW6\VWHPVDQGWHVWLQJ
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                  'HIHQGDQW/$%&253PDUNHWHGDQGVROGIORZF\WRPHWU\DQGKHPDWRORJ\WHVWLQJ
               T




   SURGXFWGDWDDQGODERUDWRU\UHVXOWVZLWKWKHH[SHFWDWLRQWKDWLWZRXOGEHXVHGE\WKHFRQVXPHU
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   ZLWKRXWVXEVWDQWLDOFKDQJH

                  7KHODERUDWRU\WHVWDQGSURGXFWUHVXOWZDVGHIHFWLYHDQGXQUHDVRQDEO\GDQJHURXV

   EHFDXVHLWZDVFRQWDPLQDWHGDQGXQILWIRULWVLQWHQGHGSXUSRVH

                  $V D GLUHFW DQG SUR[LPDWH UHVXOW RI '()(1'$17 /$%&253¶6 EUHDFK RI WKH

   H[SUHVVZDUUDQW\RIPHUFKDQWDELOLW\3ODLQWLII&+5,67,$1'8/&,(VXIIHUHGSHUPDQHQWERGLO\
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   'XOFLHY/DEFRUSHWDO
   $PHQGHG&RPSODLQW
   3DJH


   LQMXULHV UHVXOWLQJ LQ SDLQDQGVXIIHULQJGLVDELOLW\SK\VLFDO LPSDLUPHQW SDVW DQGIXWXUHPHGLFDO

   H[SHQVHVH[SHQVHRIKRVSLWDOL]DWLRQLQFRQYHQLHQFHGLVDELOLW\PHQWDODQJXLVKORVVRIHQMR\PHQW

   RI OLIH ORVV YDOXH RI JUDWXLWRXV VHUYLFHV ORVV RI HDUQLQJV ORVV RI DELOLW\ WR HDUQ PRQH\ DQG

   DJJUDYDWLRQ RI D SUHYLRXVO\ H[LVWLQJ FRQGLWLRQ  7KH ORVVHV DUH SHUPDQHQW DQG FRQWLQXLQJ DQG




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   3ODLQWLIIZLOOFRQWLQXHWRVXIIHUWKHVHORVVHVLQWKHIXWXUH

            :+(5()25( WKH 3ODLQWLII &+5,67,$1 '8/&,( LQGLYLGXDOO\ GHPDQG MXGJPHQW




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   DJDLQVW'HIHQGDQW/$%&253IRUWKHVHGDPDJHVDQGDOORWKHUGDPDJHVDOORZDEOHE\ODZDQG

   GHPDQGVFRVWVSRVWMXGJPHQWLQWHUHVWDQGDWULDOE\MXU\




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   /DEFRUS¶V6RXWKHDVWGLYLVLRQVLQFHDQGZDVUHVSRQVLEOHIRUWKHRSHUDWLRQVRIWKH6RXWKHDVW

   'LYLVLRQ RI /$%&253 ZKLFK LQFOXGHG WKH RSHUDWLRQV RI DOO WHVWLQJ VLWHV LQ )ORULGD DQG WKH
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   IRU WKH RYHUVLJKW DQG LPSOHPHQWDWLRQ RI WKH RSHUDWLRQV FROOHFWLRQV WUDQVSRUW WHVWLQJ DQG

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Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 84 of 95


   'XOFLHY/DEFRUSHWDO
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   /DERUDWRU\,PSURYHPHQW$PHQGPHQWV DV/$%&253RSHUDWHVDOOIDFLOLWLHVLQ)ORULGDXQGHUWKRVH

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   PHGLFDOVWDQGDUGVLQDOOGLDJQRVWLFUHVHDUFKDQGGHYHORSPHQWDFWLYLWLHV




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   IDLOHGWRGRRQHRUPRUHRIWKHIROORZLQJDFWVDQ\RUDOORIZKLFKZHUHEUHDFKHVLQKLVGXW\RI




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                        $PHULFDQ 3DWKRORJLVWV  DQG &/,$ &OLQLFDO /DERUDWRU\ ,PSURYHPHQW
                        $PHQGPHQWV VWDQGDUGV
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                     E )DLOXUHWRUHFRJQL]HDQGDSSURSULDWHO\LQFRUSRUDWHFKDLQRIFXVWRG\IRUEORRG
                        WHVWLQJ SURGXFWV IURP VRXWKHDVW WHVWLQJ ORFDWLRQV LQ )ORULGD LQFOXGLQJ WKH
                        1RUWKODNHORFDWLRQWRODEVRXWVLGHWKH6WDWHRI)ORULGD
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                     F )DLOXUH WR SURSHUO\ VWDII DQG UHWDLQ FRPSHWHQW HPSOR\HHV LQ /$%&253¶V
                        VRXWKHDVWORFDWLRQVLQFOXGLQJWKH1RUWKODNHORFDWLRQLQ3DOP%HDFK&RXQW\
                     G )DLOXUHWRLGHQWLI\DQGFRUUHFWLPSURSHUIORZF\WRPHWU\ODEUHVXOWVDQG
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                     H )DLOXUH WR KDYH SURSHU SURWRFROV IRU WKH LGHQWLI\ DQG WUDQVSRUWDWLRQ RI EORRG
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   RIKRVSLWDOL]DWLRQLQFRQYHQLHQFHGLVDELOLW\PHQWDODQJXLVKORVVRIHQMR\PHQWRIOLIHORVVYDOXH

   RI JUDWXLWRXV VHUYLFHV ORVV RI HDUQLQJV ORVV RI DELOLW\ WR HDUQ PRQH\ DQG DJJUDYDWLRQ RI D
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   'XOFLHY/DEFRUSHWDO
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   DQGWUDQVSRUWHGLQFRPSOLDQFHZLWK*RRG&OLQLFDO3UDFWLFHV *&3 DQG*RRG/DERUDWRU\3UDFWLFHV

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   'XOFLHY/DEFRUSHWDO
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   ODERUDWRU\ VWDQGDUGV LQFRUSRUDWHG ZLWKLQ /$%&253¶V KLJKHVW HWKLFDO VFLHQWLILF DQG PHGLFDO

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   DQGWUDQVSRUWHGLQFRPSOLDQFHZLWK*RRG&OLQLFDO3UDFWLFHV *&3 DQG*RRG/DERUDWRU\3UDFWLFHV

    */3 DQG*RRG0DQXIDFWXULQJ3UDFWLFHV *03 

                 'HIHQGDQW 3$75,&( )5$6(5 RZHG D GXW\ WR &+5,67,$1 '8/&,( WR

   SURSHUO\SHUIRUPEORRGGUDZVDQGSURSHUO\ODEHODQGSURFHVVWKHFRQVXPHU¶VEORRGVSHFLPHQ

                 1RWZLWKVWDQGLQJ WKH GXW\ XQGHUWDNHQ 'HIHQGDQW 3$75,&( )5$6(5 GLG RU

   IDLOHGWRGRRQHRUPRUHRIWKHIROORZLQJDFWVDQ\RUDOORIZKLFKZHUHEUHDFKHVLQKHUGXW\RI

   FDUH

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                     E )DLOXUHWRSURSHUO\GUDZDQGODEHOEORRGVSHFLPHQIRUWUDQVSRUWDQGWHVWLQJ
                     F )DLOXUH WR UHFRJQL]H LPSURSHU VSHFLPHQ FROOHFWLRQ DQG SURFHVVLQJ SULRU WR
                        WUDQVSRUWDQG
                     G )DLOXUHWRHQDFWSURSHUSROLFLHVDQGSURFHGXUHVWRHQVXUHSURSHUEORRGSURGXFWV
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Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 90 of 95


   'XOFLHY/DEFRUSHWDO
   $PHQGHG&RPSODLQW
   3DJH


   KRVSLWDOL]DWLRQLQFRQYHQLHQFHGLVDELOLW\PHQWDODQJXLVKORVVRIHQMR\PHQWRIOLIHORVVYDOXHRI

   JUDWXLWRXVVHUYLFHVORVVRIHDUQLQJVORVVRIDELOLW\WRHDUQPRQH\DQGDJJUDYDWLRQRIDSUHYLRXVO\

   H[LVWLQJFRQGLWLRQ7KHORVVHVDUHSHUPDQHQWDQGFRQWLQXLQJDQG3ODLQWLIIZLOOFRQWLQXHWRVXIIHU

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            :+(5()25( WKH 3ODLQWLII &+5,67,$1 '8/&,( LQGLYLGXDOO\ GHPDQGV MXGJPHQW

   DJDLQVW'HIHQGDQW3$75,&()5$6(5IRUWKHVHGDPDJHVDQGDOORWKHUGDPDJHVDOORZDEOHE\




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   ODZDQGGHPDQGVFRVWVSRVWMXGJPHQWLQWHUHVWDQGDWULDOE\MXU\

            'DWHGWKLVWKGD\RI6HSWHPEHU




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                                                 6HDUF\'HQQH\6FDUROD%DUQKDUW 6KLSOH\3$
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                                                 :HVW3DOP%HDFK)/
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 FilingCase 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 91 of 95
        # 182474844  E-Filed 09/22/2023 07:35:14 PM
                                                         RETURN OF SERVICE

   State of Florida                                          County of Palm Beach                                                 Circuit Court

   Case Number: 23-CA-11853
   Plaintiff:
   CHRISTIAN DULCIE
   vs.
   Defendant:
   LABORATORY CORPORATION OF AMERICA, SEAN FARRIER, M.D., YOLANDA
   WALTON, PATRICE FRASER, and JANET ROMERO

   For:
   Jordan A. Dulcie




                                                                                                               PY
   Received by J.P. MARSHALL INVESTIGATIONS on the 13th day of September, 2023 at 11:15 am to be served on SEAN
   FARRIER M.D., 5610 W. Lasalle Street, Suite 100, Tampa, FL 33607.




                                                                                                             CO
   I, Kyle Strohmeyer, do hereby affirm that on the 19th day of September, 2023 at 12:40 pm, I:
   INDIVIDUALLY/PERSONALLY served by delivering a true copy of the SUMMONS, AMENDED COMPLAINT AND
   ORDER IMPLEMENTING DIFFERENTIATED CASE MANAGEMENT PLAN, STANDING ORDER FOR CASE




                                                                               D
   MANAGEMENT AND SUBMISSION OF AGREED CASE MANAGEMENT PLAN IN CIVIL CASES IN THE 15TH
   JUDICIAL CIRCUIT FILED ON OR AFTER 4/30/2021 (DCMSO), DESIGNATING CASE TO THE GENERAL TRACK,
                                                                            IE
   ORDER SETTING CALENDAR CALL AND CASE MANAGEMENT CONFERENCE AND DIRECTING PRETRIAL AND
   MEDIATION PROCEDURES (DCMGJT) with the date and hour of service endorsed thereon by me, to: SEAN FARRIER
   M.D. at the address of: 5610 W. Lasalle Street, Suite 100, Tampa, FL 33607, and informed said person of the contents
                                                                          IF
   therein, in compliance with state statutes.
   Military Status: Based upon observation and/or Inquiry, Defendant is not in the military service of The United States Of
                                                           RT

   America.

   I certify that I have no interest in the above action, and am a Certified Process Server in good standing. Under penalties of
                                           CE



   perjury, I declare I have read the foregoing document and the facts stated herein are true. NO NOTARY REQUIRED
   pursuant to Florida Statute 92.525(2). If there is no description of person served, servee may have signed receipt on server
   field sheet.
                                   A
                       T
                      O
                N




                                                                                                   Kyle Strohmeyer
                                                                                                   APS#48582 / CPS#08-598559
                                                                                                   J.P. MARSHALL INVESTIGATIONS
                                                                                                   Post Office Box 14453
                                                                                                   North Palm Beach, FL 33408
                                                                                                   (561) 758-6417

                                                                                                   Our Job Serial Number: JMS-2023003677

                                        Copyright © 1992-2023 DreamBuilt Software, Inc. - Process Server's Toolbox V8.2n




*** FILED: PALM BEACH COUNTY, FL JOSEPH ABRUZZO, CLERK. 09/22/2023 07:35:14 PM ***
                                                                                  _
            _/
  Filing# 180732560 E-Filed 08/29/2023 11:36:10 AM
       Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023       Page 92 of 95
                                                         DELIVERED 9/19/2023 12:40 PM
                                                         SERVER
                                                                        LICENSE   APS#48582 /
                                                                                  CPS#08-598559


                                                             IN THE CIRCUIT COURT FOR THE 15TH
                                                             JUDICIAL CIRCUIT, IN AND FOR PALM
                                                             BEACH COUNTY, FLORIDA
                                                             CASE NO: 50-2023-CA-011853-XXXX-MB
            CHRISTIAN DULCIE,
                          Plaintiff,
            vs.




                                                                              PY
            LABORATORY CORPORATION OF
            AMERICA, SEAN FARRIER, M.D.,




                                                                            CO
            YOLANDA WALTON, PATRICE FRASER,
            and JANET ROMERO,
                          Defendants.



                                                             D
           CIVIL ACTION SUMMONS                           IE
                                                  SUMMONS:
                                                        IF
                               PERSONAL SERVICE ON A NATURAL PERSON
                                               RT


            TO:       REDACTED         .
                      5610 W. Lasalle Street
                      Suite 100
                                       CE



                      Tampa, FL 33617

                                                 IMPORTANT
                               A




                  A lawsuit has been filed against you. You have 20 calendar days after this summons is
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           served on you to file a written response to the attached Complaint with the Clerk of this Court,
                  N




           Palm Beach County Clerk of Court, Circuit Civil Division, 205 N. Dixie Highway, West Palm
           Beach, Florida 33409. A phone call will not protect you. Your written response, including the
           case number given above and the names of the parties, must be filed if you want the Court to hear

           your side of the case. If you do not file your response on time, you may lose the case, and your
           wages, money, and property may thereafter be taken without further warning from the Court.



FILED: PALM BEACH COUNTY, FL, JOSEPH ABRUZZO, CLERK, 08/29/2023 11:36:10 AM
Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 93 of 95


   Dulcie v. Laboratory Corporation of America
   Case No. 50-2023-CA-011853-XXXX-MB

   There are other legal requirements. You may want to call an attorney right away. If you do not
   know an attorney, you may call an attorney referral service or a legal aid office (listed in the phone
   book).
            If you choose to file a written response yourself, at the same time you file your written
   response to the court you must also mail or take a copy of your written response to the
                        s Attorney” named below.


                                          Jordan A. Dulcie, Esq.
                                         Florida Bar No. 118635
                              Searcy Denney Scarola Barnhart & Shipley, P.A.
                                      2139 Palm Beach Lakes Blvd.
                                       West Palm Beach, FL 33409

   THE STATE OF FLORIDA




                                              of.
   TO EACH SHERIFF OF THE STATE:
           YOU ARE COMMANDED to serve this summons and a copy of the complaint/petition in
   this lawsuit on the above-named defendant(s).
            DATED on this
                                                 Aug 30 2023
                                                          2023.
                                        day
                                              JOSEPH ABRUZZO

                                                        J_—/_
                                              PALM BEACH COUNTY CLERK
                                              OF THE CIRCUIT COURT (SEAL)

                                              BY: Y
                                                  Deputy Clerk     JOSIE LUCCE
Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 94 of 95


   Dulcie v. Laboratory Corporation of America
   Case No. 50-2023-CA-011853-XXXX-MB


           IMPORTANTE
   Usted ha sido demandado legalmente. Tiene 20 dias, contados a partir del recibo de esta
   notification, para contestar la demanda adjunta, por escrito, y presentaria ante este tribunal. Una
   Hamada telefonica no lo protegera. Si usted desea que el tribunal considere su defensa, debe
   presentar su respuesta por escrito, incluyendo el numero del caso y los nombres de las partes
   interesadas. Si usted no contesta la demanda a tiempo, pudiese perder el caso y podria ser
   despojado de sus ingresos y propiedades, o privado de sus derechos, sin previo aviso del tribunal.




                                                                       PY
   Existen otros requisites legales. Si lo desea, puede usted consultar a un abogado inmediatamente.
   Si no conoce a un abogado, puede llamar a una de las oficinas de asistencia legal que aparecen
   en la guia telefonica.
   Si desea responder a la demanda por su cuenta, al mismo tiempo en que presenta su respuesta




                                                                     CO
   ante el tribunal, debera usted enviar por correo o entregar una copia de su respuesta a la persona
   denominada abajo como                          s Attorney” (Demandante o Abogado del
   Demandante).



                                                      D
           IMPORTANT                               IE
   Des poursuites judiciares ont ete entreprises contre vous. Vous avez 20 jours consecu-tifs a partir
                                                 IF
   de la date de Tassignation de cette citation pour deposer une reponse ecrite a la plainte ci-jointe
   aupres de ce tribunal. Un simple coup de telephone est insuffisant pour vous proteger. Vous etes
                                            RT


   obliges de deposer votre reponse ecrite, avec mention du numero de dossier ci-dessus et du nom
   des parties nommees id, si vous souhaitez que le tribunal entende votre cause. Si vous ne
   deposez pas votre reponse ecrite dans le relai requis, vous risquez de perdre la cause ainsi que
                                  CE



   votre salaire, votre argent, et vos biens peuvent etre saisis par la suite, sans aucun preavis
   ulterieur du tribunal. Il y a d’autres obligations juridiques et vous pouvez requerir les services
   immediats d’un avocat. Si vous ne connaissez pas d’avocat, vous pourriez telephoner a un
   service de reference d’avocats ou a un bureau d’assistance juridique (figurant a l’annuaire de
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   telephones).
   Si vous choisissez de deposer vous-meme une reponse ecrite, il vous faudra egale-ment, en
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   meme temps que cette formalite, faire parvenir ou expedier une copie de votre reponse ecrite au
                        s Attorney” (Plaignant ou a son avocat) nomme ci-dessous.
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Case 9:23-cv-81344-BER Document 1-2 Entered on FLSD Docket 10/03/2023 Page 95 of 95


   Dulcie v. Laboratory Corporation of America
   Case No. 50-2023-CA-011853-XXXX-MB

   This notice is provided pursuant to Administrative Order No. 2.207-7/22*

       “If you are a person with a disability who needs any accommodation in order
       to participate in this proceeding, you are entitled, at no cost to you, to the
       provision of certain assistance. Please contact William Hutchings Jr., MPA,
       PHR, the Americans with Disabilities Act Coordinator, Palm Beach County
       Courthouse, 205 North Dixie Highway West Palm Beach, Florida 33401;
       telephone number (561) 355-4380 at least 7 days before your scheduled court




                                                                     PY
       appearance, or immediately upon receiving this notification if the time
       before the scheduled appearance is less than 7 days; if you are hearing or
       voice impaired, call 711.”




                                                                   CO
       “Si usted es una persona minusvalida que necesita algun acomodamiento
       para poder participar en este procedimiento, usted tiene derecho, sin tener


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       gastos propios, a que se le provea cierta ayuda. Tenga la amabilidad de
       ponerse en contacto con William Hutchings Jr., MPA, PHR, 205 N. Dixie
                                                   IE
       Highway, West Palm Beach, Florida 33401; telefono numero (561) 355-4380,
       por lo menos 7 dias antes de la cita fijada para su comparecencia en los
                                                 IF
       tribunales, o inmediatamente despues de recibir esta notificacion si el tiempo
       antes de la comparecencia que se ha programado es menos de 7 dias; si usted
                                            RT


       tiene discapacitacion del oido o de la voz, llame al 711.”
                                  CE



       “Si ou se yon moun ki enfim ki bezwen akomodasyon pou w ka patisipe nan
       pwosedi sa, ou kalifye san ou pa gen okenn lajan pou w peye, gen pwovizyon
       pou jwen kek ed. Tanpri kontakte William Hutchings Jr., MPA, PHR, k
                          A




       donate pwogram Lwa pou ameriken ki Enfim yo nan Tribinal Konte Palm
       Beach la ki nan 205 North Dixie Highway, West Palm Beach, Florida 33401;
       telef n li se (561) 355-4380 nan 7 jou anvan dat ou gen randevou pou paret
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       nan tribinal la, oubyen imedyatman apre ou fin resevwa konvokasyon an si
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       le ou gen pou w paret nan tribinal la mwens ke 7 jou; si ou gen pwoblem pou
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       w tande oubyen pale, rele 711.”
